      Case 1:25-cv-11913-IT      Document 5   Filed 07/07/25    Page 1 of 64




                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


PLANNED PARENTHOOD FEDERATION
OF AMERICA, INC.; PLANNED
PARENTHOOD LEAGUE OF
MASSACHUSETTS; and PLANNED      Case No. 1:25-cv-11913
PARENTHOOD ASSOCIATION OF UTAH,

                   Plaintiffs,            Oral Argument Requested
                                          Expedited Hearing Requested
      v.

ROBERT F. KENNEDY, JR., in his official
capacity as SECRETARY OF THE U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; U.S. DEPARTMENT
OF HEALTH AND HUMAN SERVICES;
MEHMET OZ, in his official capacity as
ADMINISTRATOR OF THE CENTERS
FOR MEDICARE & MEDICAID
SERVICES; and CENTERS FOR
MEDICARE & MEDICAID SERVICES,

                   Defendants.



 MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR A
   TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
            Case 1:25-cv-11913-IT                      Document 5                Filed 07/07/25               Page 2 of 64




                                                   TABLE OF CONTENTS

                                                                                                                                          Page

INTRODUCTION ...........................................................................................................................1
STATEMENT OF THE CASE........................................................................................................3
          A.         Planned Parenthood’s Service To The Community .................................................3
                     1.         Planned Parenthood’s mission, structure, and advocacy work ....................3
                     2.         Planned Parenthood Members provide sexual and reproductive
                                health care throughout the Nation ................................................................5
                     3.         Service and reimbursement under the Medicaid program ...........................6
          B.         The Sweeping Purpose And Effect Of The Defund Provision: To Target
                     And Punish Planned Parenthood ..............................................................................8
                     1.         Legislative history of the Defund Provision ................................................8
                     2.         The Defund Provision: text and purpose ...................................................13
                     3.         The devastating impact of the Defund Provision .......................................15
STANDARD OF REVIEW ...........................................................................................................18
ARGUMENT .................................................................................................................................19
I.        Plaintiffs Are Likely To Succeed On The Merits Of Their Claims ...................................19
          A.         The Defund Provision Is An Unconstitutional Bill Of Attainder ..........................19
                     1.         The Defund Provision specifies Planned Parenthood ................................20
                     2.         The Defund Provision punishes Planned Parenthood ................................21
                     3.         The Defund Provision does not afford Planned Parenthood a trial ...........24
          B.         The Defund Provision Violates Equal Protection ..................................................24
          C.         The Defund Provision Unconstitutionally Retaliates Against Planned
                     Parenthood’s Exercise Of Its First Amendment Rights .........................................28
          D.         The Non-Qualifying Members Are Likely To Succeed On Their Additional
                     Claims ....................................................................................................................29
                     1.         Declaratory relief is warranted to prevent enforcement against Non-
                                Qualifying Members that do not independently qualify as
                                “prohibited entit[ies]” ................................................................................30
                     2.         Without the declaratory relief requested, the Defund Provision is
                                unconstitutionally vague ............................................................................33
                     3.         Without the declaratory relief requested, the Defund Provision
                                violates the Non-Qualifying Members’ First Amendment rights ..............35
II.       Plaintiffs And Their Patients Will Suffer Irreparable Injury Absent Injunctive Relief, And
          The Balance Of Equities And Public Interest Favor An Injunction ..................................37
          A.         Plaintiffs And Their Patients Face Irreparable Injury ............................................38

                                                                     -i-
            MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
            Case 1:25-cv-11913-IT                       Document 5                Filed 07/07/25                Page 3 of 64




          B.         The Balance Of Equities And Public Interest Favor Granting Injunctive
                     Relief ......................................................................................................................44
III.      Injunctive Relief As To All Planned Parenthood Members Is Necessary, And No Bond
          Should Be Required ...........................................................................................................45
CONCLUSION ..............................................................................................................................48




                                                                     - ii -
            MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
            Case 1:25-cv-11913-IT                    Document 5              Filed 07/07/25             Page 4 of 64




                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)
CASES

Agency for International Development v. Alliance for Open Society International,
      570 U.S. 205 (2013) ..............................................................................................35, 36, 37

Akebia Therapeutics, Inc. v. Azar,
       976 F.3d 86 (1st Cir. 2020) ................................................................................................19

Alexander v. Choate,
      469 U.S. 287 (1985) .............................................................................................................6

Banks v. Booth,
       468 F. Supp. 3d 101 (D.D.C. 2020) ...................................................................................41

Barton v. Clancy,
       632 F.3d 9 (1st Cir. 2011) ............................................................................................28, 29

City of Cleburne v. Cleburne Living Center,
        473 U.S. 432 (1985) ...........................................................................................................24

Consolidated Edison Co. of New York, Inc. v. Pataki,
       292 F.3d 338 (2d Cir. 2002).........................................................................................21, 24

Coquico, Inc. v. Rodriguez-Miranda,
      562 F.3d 62 (1st Cir. 2009) ................................................................................................19

Crowley v. Local No. 82, Furniture & Piano Moving, Furniture Store Drivers, Helpers,
      Warehousemen, & Packers,
      679 F.2d 978 (1st Cir. 1982), rev’d on other grounds, 467 U.S. 526 (1984) ........46, 47, 48

Cummings v. Missouri,
     71 U.S. 277 (1866) .............................................................................................................22

Doe v. Noem,
       2025 WL 1099602 (D. Mass. Apr. 14, 2025) ....................................................................48

Does 1-6 v. Mills,
       16 F.4th 20 (1st Cir. 2021) .................................................................................................44

Dr. José S. Belaval, Inc. v. Peréz-Perdomo,
       465 F.3d 33 (1st Cir. 2006) ................................................................................................43

Eisenstadt v. Baird,
       405 U.S. 438 (1972) ...........................................................................................................25



                                          - iii -
            MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
            Case 1:25-cv-11913-IT                    Document 5              Filed 07/07/25             Page 5 of 64




Elrod v. Burns,
       427 U.S. 347 (1976) ...........................................................................................................39

Ex parte Young,
       209 U.S. 123 (1908) ...........................................................................................................46

FCC v. Fox Television Stations, Inc.,
      567 U.S. 239 (2012) ...........................................................................................................34

Florida Youth Conservation Corps., Inc. v. Stutler,
       2006 WL 1835967 (N.D. Fla. June 30, 2006) ...................................................................21

Fowler Packing Co. v. Lanier,
      844 F.3d 809 (9th Cir. 2016) .......................................................................................23, 24

Francisco Sánchez v. Esso Standard Oil Co.,
       572 F.3d 1 (1st Cir. 2009) ..................................................................................................46

Gattineri v. Town of Lynnfield,
       58 F.4th 512 (1st Cir. 2023) ...............................................................................................28

Grayned v. City of Rockford,
      408 U.S. 104 (1972) ...........................................................................................................34

Harris v. Board of Supervisors, Los Angeles County,
       366 F.3d 754 (9th Cir. 2004) .............................................................................................41

Harris v. McRae,
       448 U.S. 297 (1980) .............................................................................................................8

Healy v. James,
       408 U.S. 169 (1972) ...........................................................................................................26

Hunt v. Washington State Apple Advertising Commission,
       432 U.S. 333 (1977) ...........................................................................................................45

In re Finnacial Oversight & Management Board for Puerto Rico,
        110 F.4th 295 (1st Cir. 2024) .............................................................................................45

International Ass’n of Machinists & Aerospace Workers v. Eastern Airlines, Inc.,
       925 F.2d 6 (1st Cir. 1991) ..................................................................................................47

International Confections Co. v. Z Capital Group, LLC,
       2023 WL 335285 (6th Cir. Jan. 20, 2023) .........................................................................31

Kolender v. Lawson,
      461 U.S. 352 (1983) ...........................................................................................................35



                                          - iv -
            MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
            Case 1:25-cv-11913-IT                    Document 5             Filed 07/07/25             Page 6 of 64




Koontz v. St. Johns River Water Management District,
       570 U.S. 595 (2013) ...........................................................................................................36

Kramer v. Union Free School District No. 15,
      395 U.S. 621 (1969) ...........................................................................................................25

League of Women Voters of United States v. Newby,
      838 F.3d 1 (D.C. Cir. 2016) ...............................................................................................41

Lozman v. City of Riviera Beach,
      585 U.S. 87 (2018) .............................................................................................................28

Massachusetts Ass’n of Older Americans v. Sharp,
      700 F.2d 749 (1st Cir. 1983) ..............................................................................................45

Massachusetts ex rel. Dep’t of Public Welfare v. Secretary of Health & Human Services,
      749 F.2d 89 (1st Cir. 1984) ............................................................................................8, 22

McCue v. Bradstreet,
     807 F.3d 334 (1st Cir. 2015) ..............................................................................................29

Medina v. Planned Parenthood South Atlantic,
      --- S. Ct. ---, 2025 WL 1758505 (June 26, 2025) ..............................................................44

NAACP v. Alabama ex rel. Patterson,
     357 U.S. 449 (1958) ...........................................................................................................26

National Education Ass’n v. U.S. Dep’t of Education,
       2025 WL 1188160 (D.N.H. Apr. 24, 2025) .......................................................................35

National Rifle Ass’n v. Vullo,
       602 U.S. 175 (2024) ...........................................................................................................28

Nixon v. Administrator of General Services,
       433 U.S. 425 (1977) .....................................................................................................21, 22

Nken v. Holder,
       556 U.S. 418 (2009) ...........................................................................................................44

Orkin v. Albert,
       557 F. Supp. 3d 252 (D. Mass. 2021) ................................................................................18

Perry v. Sindermann,
       408 U.S. 593 (1972) .........................................................................................28, 35, 36, 37

Pineda v. Skinner Services, Inc.,
       22 F.4th 47 (1st Cir. 2021) .................................................................................................47



                                                                 -v-
           MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
            Case 1:25-cv-11913-IT                    Document 5              Filed 07/07/25             Page 7 of 64




Planned Parenthood Arizona, Inc. v. Betlach,
      899 F. Supp. 2d 868 (D. Ariz. 2012) .................................................................................47

Planned Parenthood Gulf Coast, Inc. v. Kliebert,
      141 F. Supp. 3d 604 (M.D. La. 2015), aff’d sub nom. Planned Parenthood
      of Gulf Coast, Inc. v. Gee, 862 F.3d 445 (5th Cir. 2017)...................................................44

Planned Parenthood of Central & Northern Arizona v. Arizona,
      718 F.2d 938 (9th Cir. 1983) .............................................................................................35

Planned Parenthood of Central & Northern Arizona v. Arizona,
      789 F.2d 1348 (9th Cir. 1986), aff’d mem. sub nom. Babbit v. Planned Parenthood
      Federation, 479 U.S. 925 (1986) .......................................................................................35

Planned Parenthood of Central North Carolina v. Cansler,
      877 F. Supp. 2d 310 (M.D.N.C. 2012) ..................................................................21, 23, 37

Planned Parenthood of Greater Texas Family Planning & Preventative Health Services,
      Inc. v. Smith,
      236 F. Supp. 3d 974 (W.D. Tex. 2017), vacated sub nom. Planned Parenthood of
      Greater Texas Family Planning & Preventative Health Services, Inc. v.
      Kauffman, 981 F.3d 347 (5th Cir. 2020)............................................................................47

Planned Parenthood of Indiana, Inc. v. Commissioner of Indiana State Dep’t of Health,
      794 F. Supp. 2d 892 (S.D. Ind. 2011), aff’d in part & rev’d in part on other
      grounds, 699 F.3d 962 (7th Cir. 2012) ..............................................................................44

Planned Parenthood of Kansas v. Andersen,
      882 F.3d 1205 (10th Cir. 2018) ...................................................................................41, 47

Planned Parenthood of Kansas v. Mosier,
      2016 WL 3597457 (D. Kan. July 5, 2016), aff’d in part, vacated in part sub nom.
      Planned Parenthood of Kansas v. Andersen, 882 F.3d 1205 (10th Cir. 2018) .................47

Planned Parenthood South Atlantic v. Baker,
      326 F. Supp. 3d 39 (D.S.C. 2018), aff’d, 941 F.3d 687 (4th Cir. 2019) ............................43

Planned Parenthood Southeast, Inc. v. Bentley,
      141 F. Supp. 3d 1207 (M.D. Ala. 2015) ............................................................................43

Plyler v. Doe,
        457 U.S. 202 (1982) ...........................................................................................................26

Rinaldi v. Yeager,
       384 U.S. 305 (1966) ...........................................................................................................27

Rio Grande Community Health Center, Inc. v. Rullan,
       397 F.3d 56 (1st Cir. 2005) ..........................................................................................39, 43

                                          - vi -
            MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
            Case 1:25-cv-11913-IT                    Document 5              Filed 07/07/25             Page 8 of 64




Roberts v. U.S. Jaycees,
       468 U.S. 609 (1984) .....................................................................................................26, 29

Rocket Learning, Inc. v. Rivera-Sanchez,
       715 F.3d 1 (1st Cir. 2013) ..................................................................................................26

Romer v. Evans,
      517 U.S. 620 (1996) ...........................................................................................................27

Ross-Simons of Warwick, Inc. v. Baccarat, Inc.,
       102 F.3d 12 (1st Cir. 1996) ................................................................................................19

Rust v. Sullivan,
        500 U.S. 173 (1991) ...........................................................................................................36

Ryan v. U.S. Immigration & Customs Enforcement,
       974 F.3d 9 (1st Cir. 2020) ..................................................................................................19

Saenz v. Roe,
       526 U.S. 489 (1999) ...........................................................................................................27

SBT Holdings, LLC v. Town of Westminster,
      547 F.3d 28 (1st Cir. 2008) ................................................................................................27

SeaRiver Maritime Financial Holdings, Inc. v. Mineta,
       309 F.3d 662 (9th Cir. 2002) .............................................................................................20

Selective Service System v. Minnesota Public Interest Research Group,
        468 U.S. 841 (1984) ...............................................................................................20, 21, 22

Sindicato Puertorriqueño de Trabajadores v. Fortuño,
       699 F.3d 1 (1st Cir. 2012) ..................................................................................................39

Susan B. Anthony List v. Driehaus,
       573 U.S. 149 (2014) ...........................................................................................................33

U.S. Dep’t of Agriculture v. Moreno,
       413 U.S. 528 (1973) ...........................................................................................................27

United States v. Brown,
       381 U.S. 437 (1965) .....................................................................................................19, 22

United States v. Lovett,
       328 U.S. 303 (1946) .....................................................................................................20, 22

United States v. Nason,
       269 F.3d 10 (1st Cir. 2001) ................................................................................................31



                                          - vii -
            MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
             Case 1:25-cv-11913-IT                      Document 5                Filed 07/07/25               Page 9 of 64




Vaquería Tres Monjitas, Inc. v. Irizarry,
      587 F.3d 464 (1st Cir. 2009) ..............................................................................................38

Village of Willowbrook v. Olech,
       528 U.S. 562 (2000) ...........................................................................................................27

Xiaomi Corp. v. Department of Defense,
      2021 WL 950144 (D.D.C. Mar. 12, 2021).........................................................................31

STATUTES, RULES, AND REGULATIONS

45 C.F.R. § 156.235 .......................................................................................................................14

2 U.S.C. § 644 ..................................................................................................................................9

42 U.S.C. § 1320a-3(a)(3)..............................................................................................................33

42 U.S.C. § 1320a-7 .........................................................................................................................7

42 U.S.C. § 1320a-7a .......................................................................................................................7

42 U.S.C. § 1395w-25(d)(4) ..........................................................................................................33

42 U.S.C. § 1396a(a)(23) .................................................................................................................7

U.S. Const. amend. I ......................................................................................................................29

U.S. Const. art. I, § 9, cl. 3.......................................................................................................20, 25

Utah Code Ann. § 16-10a-102(2) ..................................................................................................32

OTHER AUTHORITIES

163 Cong. Rec. H1951 (daily ed. Mar. 9, 2017) (statement of Rep. Barr) ....................................15

163 Cong. Rec. H2373 (daily ed. Mar. 24, 2017) (statement of Rep. Gaetz)......................9, 10, 15

163 Cong. Rec. H2433 (daily ed. Mar. 24, 2017) (statement of Rep. Brady) .........................10, 15

163 Cong. Rec. H4113 (daily ed. May 4, 2017) (statement of Rep. Dunn) ..................................15

171 Cong. Rec. E255 (2025) (statement of Rep. Smith) ...............................................................13

171 Cong. Rec. H2219 (daily ed. May 21, 2025) (statement of Rep. DeGette) ............................16

171 Cong. Rec. H2230 (daily ed. May 21, 2025) (statement of Rep. Ocasio-Cortez) ..................16

171 Cong. Rec. H2240 (daily ed. May 21, 2025) (statement of Rep. Trahan) ..............................16


                                          - viii -
            MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
           Case 1:25-cv-11913-IT                   Document 5             Filed 07/07/25             Page 10 of 64




171 Cong. Rec. S2869 (daily ed. May 13, 2025) (statement of Sen. Sanders) ..............................16

Alice Ollstein, Knives Are Out for Planned Parenthood. In All 3 Branches of Government,
       POLITICO (Feb. 13, 2025), https://www.politico.com/newsletters/politico-
       nightly/2025/02/13/knives-are-out-for-planned-parenthood-in-all-3-branches-of-
       government-00204234 .......................................................................................................13

American Health Care Act, H.R. 1628, 115th Cong. (2017) .....................................................9, 10

Black’s Law Dictionary (12th ed. 2024) ..................................................................................32, 33

Cong. Budget Off, Estimated Budgetary Effects of an Amendment in the Nature of a
      Substitute to H.R. 1, the One Big Beautiful Bill Act, Relative to CBO’s January
      2025 Baseline (June 29, 2025), https://www.cbo.gov/publication/61534 .........................24

Defund Planned Parenthood Act, S. 203, 119th Cong. (2025) ......................................................11

Defund Planned Parenthood Act of 2023, H.R. 128, 118th Cong. (2023) ....................................11

Defund Planned Parenthood Act of 2023, H.R. 371, 118th Cong. (2023) ....................................11

Donald J. Trump (@realDonaldTrump), X (Mar. 24, 2017, 8:23 a.m. ET),
      https://x.com/realdonaldtrump/status/845249587178819584? ..........................................15

H.R. 271, 119th Cong. (2025)........................................................................................................11

H.R. 599, 119th Cong. (2025)........................................................................................................11

H.R. 6176, 118th Cong. (2023)......................................................................................................11

H.R. Rep. No. 119-113 (2025).......................................................................................................16

Jamie Joseph, Defund ‘Big Abortion’ Industry That Thrived Under Biden, 150 Pro-life
       Groups Urge Congress, FOX NEWS (Mar. 26, 2025),
       https://www.foxnews.com/politics/defund-big-abortion-industry-thrived-under-
       biden-150-pro-life-groups-urge-congress ..........................................................................12

Join Students for Life’s National Month of Mobilization to DEFUND Planned
       Parenthood & Big Abortion,’ Students for Life Action,
       https://www.studentsforlifeaction.org/defund/ ..................................................................12

Michael T. Morley, Erroneous Injunctions, 71 EMORY L.J. 1137 (2022) .....................................47

Press Release, Rep. Fischbach Introduces the Defund Planned Parenthood Act and
       Protecting Life and Taxpayers Act (Jan. 19, 2023),
       https://fischbach.house.gov/press-releases?ID=67C83E37-B8FF-4E7C-
       AC0B-4EB21AAE68F9 ....................................................................................................11



                                         - ix -
           MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
           Case 1:25-cv-11913-IT                  Document 5            Filed 07/07/25            Page 11 of 64




Press Release, Rep. Lauren Boebert Introduces the Defund Planned Parenthood
       Act (Jan. 20, 2023), https://boebert.house.gov/media/press-releases/rep-
       lauren-boebert-introduces-defund-planned-parenthood-act ..............................................11

Press Release, Six-Figure Ad Campaign Exposes How Big Abortion’s
       Substandard ‘Care’ Harms Women & Girls (July 1, 2025),
       https://sbaprolife.org/newsroom/press-releases/six-figure-ad-campaign-
       exposes-how-big-abortions-substandard-care-harms-women-girls ...................................12

Protecting Funding for Women’s Health Care Act, S. 177, 119th Cong. (2025) ..........................11

S. Amend. 267, 115th Cong. (2017) ................................................................................................9

S. Comm. on the Budget, 115th Cong., Background on the Byrd Rule Decisions
      from the Senate Budget ,Committee Minority Staff (July 21, 2017)
      https://www.budget.senate.gov/imo/media/doc/Background%20on%20By
      rd%20Rule%20decisions_7.21[1].pdf ...............................................................................10

SBA Pro-Life America, Speaker Mike Johnson at the SBA Pro-Life America Gala 2025,
      YOUTUBE (Apr. 29, 2025),
      https://youtu.be/vZFDkKzIfq4?si=TZrNGsZRJ9Oigsct&t=794 .......................................12

Speaker Mike Johnson, Speaker Johnson Joins The Story with Martha MacCallum,
      YOUTUBE (Dec. 4, 2024), https://www.youtube.com/watch?v=VOM5wRs1WFc ...........12




                                                              -x-
           MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 12 of 64




                                        INTRODUCTION

       Planned Parenthood Federation of America (“PPFA”), on behalf of itself and all 47 of its

independent members (the “Members,” and with PPFA, “Planned Parenthood”), as well as two of

those Members, move for a temporary restraining order and preliminary injunction against

enforcement of Section 71113 of An Act to provide for reconciliation pursuant to title II of H. Con.

Res. 14 (the “Defund Provision”). Using criteria designed specifically to target and punish

Planned Parenthood, the Defund Provision categorically prohibits certain Planned Parenthood

Members from being reimbursed with federal funds under the Medicaid program for health care

services they provide to their patients. With no reason other than plain animus, the law will prevent

Planned Parenthood Members from providing vital—indeed, lifesaving—care to more than one

million patients. This statute is unconstitutional and will inflict irreparable harm on Planned

Parenthood Members and their patients, as well as PPFA.

       The Defund Provision is emphatically not about federal funding for abortion. Under

longstanding federal law, federal funds may not be used to provide abortions (except in the

extremely narrow circumstances permitted under the Hyde Amendment). The Defund Provision

is instead a naked attempt to leverage the government’s control over funds to punish Planned

Parenthood. It does so not only because of Planned Parenthood Members’ long history of

providing legal abortions to patients across the country, but also because of Planned Parenthood’s

unique role in advocating for policies to protect and expand access to sexual and reproductive

health care, including abortion. This legislative attack is unconstitutional and cannot stand.

       In targeting and seeking to punish Planned Parenthood, the Defund Provision is an

unconstitutional bill of attainder. And the Defund Provision violates Plaintiffs’ right to Equal

Protection because it treats Planned Parenthood Members differently than any other health care

provider in a manner that fails any level of scrutiny. It also violates the First Amendment by
                                                 1
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 13 of 64




retaliating against Planned Parenthood for its role as the leading advocate for access to

reproductive health care, including the right to safe and legal abortion. In addition, the Defund

Provision cannot be read to apply to Planned Parenthood Members who do not independently

satisfy its requirements, but rather satisfy them only if considered together with other, independent

Planned Parenthood Members—and if it were, such a reading would further violate those

Members’ constitutional rights of association and due process.

       The Defund Provision will have severe adverse effects on the health and welfare of millions

of patients. Many of Planned Parenthood Members’ million-plus Medicaid patients will lose

access to care at Planned Parenthood Member health centers altogether, depriving them of essential

services such as testing and treatment for sexually transmitted infections and cancer screenings.

In many communities, no remotely comparable Medicaid providers stand ready to absorb these

patients. And because many of these Medicaid patients do not have access to other health care

providers, they may be forced to forgo medical care entirely. Planned Parenthood Members will

have no choice but to reduce services, terminate employees, and close health centers—causing

many patients outside the Medicaid program to lose access to their health care providers of choice.

Many of those patients live in underserved areas where Planned Parenthood Members are the sole

provider of reproductive health services.

       The Defund Provision poses a dire threat to Planned Parenthood Members and their

patients, as well as PPFA, and its grave harm is already being felt today. The Defund Provision

was enacted on July 4, 2025, and took effect immediately. Through the creation of a “prohibited

entity” label with criteria designed to target Planned Parenthood, the Defund Provision prohibits

Planned Parenthood Members from receiving reimbursements through Medicaid “beginning on




                                                 2
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
          Case 1:25-cv-11913-IT        Document 5       Filed 07/07/25      Page 14 of 64




the date of the enactment of this Act.” 1 Some Planned Parenthood Members had to immediately

begin turning Medicaid-insured patients away. As a result, every day that the Defund Provision

remains in effect, Planned Parenthood Members are forced to cancel patient appointments and help

patients find other providers as best they can—despite knowing that many patients will not be able

to get remotely equivalent care, or any timely care at all. The remaining Members have been

forced to stop submitting reimbursements for services provided to Medicaid patients, which will

make it impossible to continue providing the care their patients need. For these reasons, the

Defund Provision’s impact—if not enjoined immediately—will be nothing short of a public health

crisis.

                                 STATEMENT OF THE CASE

          A.     Planned Parenthood’s Service To The Community

                 1.     Planned Parenthood’s mission, structure, and advocacy work

          PPFA is a national membership organization whose mission is to support the provision of

comprehensive, high-quality sexual and reproductive health care, to educate the public about

sexual and reproductive health, and to advocate for access to sexual and reproductive health care.

See Ex. 1, Declaration of Kim Custer (“Custer Decl.”) ¶¶ 7, 12.




1
        The Defund Provision also purports to define a “prohibited entity” based on providing
abortions as of October 1, 2025 (that is, “the first day of the first quarter beginning after the date
of enactment”). This creates potential confusion as to how the immediate payment prohibition
interacts with the fact that the identity of “prohibited entities” cannot be determined with certainty
until a later date. Because the bill states that effective immediately “no federal funds that are
considered direct spending” may be used to make payments to a prohibited entity, and because
Planned Parenthood entities will provide abortions as of October 1, Planned Parenthood Members
have been forced to stop submitting claims for Medicaid reimbursement as of “the date of
enactment” and require emergency injunctive relief in order to resume.




                                                  3
          MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT        Document 5        Filed 07/07/25     Page 15 of 64




       PPFA has 47 independently incorporated and operated Members including Plaintiff-

Members Planned Parenthood League of Massachusetts (“PPLM”) and Planned Parenthood

Association of Utah (“PPAU”). Compl. ¶¶ 19, 25, 35; see also, e.g., Custer Decl. ¶¶ 7, 9. Its

Members collectively operate nearly 600 health centers across the Nation. Custer Decl. ¶ 21.

Although each Member focuses on the distinct needs of its own community, Members share the

mission of providing comprehensive reproductive health care to all patients, regardless of ability

to pay. See, e.g., Custer Decl. ¶ 12; Ex. 2, Declaration of Dominique Lee (“Lee Decl.”) ¶ 21

(PPLM); Ex. 3, Declaration of Shireen Ghorbani (“Ghorbani Decl.”) ¶ 19 (PPAU).

       Each Member is an independent, autonomous non-profit organization and is separately

incorporated and governed. Custer Decl. ¶ 9; Lee Decl. ¶ 10; Ghorbani Decl. ¶¶ 1, 9. Each

Member has its own CEO and board of directors, and manages its own finances, legal

responsibilities, and operations. See Custer Decl. ¶¶ 9, 16; Lee Decl. ¶ 10; Ghorbani Decl. ¶ 9.

This structural independence means that PPFA does not control the operations or decision-making

of its Members, and Members similarly do not control each other. Custer Decl. ¶¶ 17-18. The

actions or policies of one Planned Parenthood Member do not legally or operationally bind the

others. The Planned Parenthood name, however, “sends a powerful message to the community

that the Member stands for certain values and provides health care and educational services of high

quality.” Id. ¶ 15.

       PPFA and its Members, along with national, state, and local Planned Parenthood 501(c)(4)

social welfare organizations, have long been at the forefront of the movement for reproductive

rights, advocating at the federal, state, and local levels to expand abortion access. This includes

pushing to codify the rights to abortion and contraception, block abortion bans, repeal the Hyde

Amendment, and ensure access to emergency contraception and medication abortion. Custer Decl.



                                                4
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT        Document 5       Filed 07/07/25     Page 16 of 64




¶¶ 12, 19. Planned Parenthood Action Fund, a related 501(c)(4) organization, seeks to hold

members of Congress politically accountable through its congressional scorecard, communicating

with and activating constituents to educate their lawmakers about the importance of sexual and

reproductive health care. Planned Parenthood Members and their related 501(c)(4) organizations

play a similar role in state legislatures across the Nation. Since the Supreme Court’s ruling in

Dobbs v. Jackson Women’s Health Organization, Planned Parenthood Action Fund and Members’

related 501(c)(4) organizations have successfully campaigned for reproductive freedom ballot

initiatives. Separately, Planned Parenthood Action Fund and other national and local Planned

Parenthood advocacy and political organizations work to elect federal, state, and local officials

who will support abortion access. Custer Decl. ¶¶ 19, 74.

               2.     Planned Parenthood Members provide sexual and reproductive health
                      care throughout the Nation

       Planned Parenthood Members play a pivotal role in the delivery of sexual and reproductive

health care to millions of people in the United States each year. Custer Decl. ¶ 21. An estimated

one out of every three women and one in ten men nationally has received care from a Planned

Parenthood Member. Id. In federal fiscal year 2023, Members served more than 2 million patients

and provided approximately 9.4 million services, including cancer examinations, contraceptives,

testing and treatment for sexually transmitted infections (“STIs”), gender-affirming hormone

therapy, and abortion where it is legal. Id. ¶ 23. Those services are often life-affirming or even

life-saving for patients and prevent serious adverse consequences for the broader public health of

the Member’s community. See id. ¶¶ 23-26, 36. In fiscal year 2023, Members provided more

than 5.1 million STI tests and treatments, 426,000 cancer screenings and prevention services, and

2.2 million birth control services. Id. ¶ 23. During that same period, Members also provided over

400,000 abortions—approximately 4% of their services nationwide. Id..


                                                5
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5        Filed 07/07/25      Page 17 of 64




       Planned Parenthood Members play a special role in providing care in low-income and

historically underserved communities. See Custer Decl. ¶¶ 24-26; see Ex. 5, Declaration of Claire

Brindis (“Brindis Decl.”) ¶¶ 21-22. Sixty-five percent of Members’ patients have incomes at or

below 150 percent of the federal poverty level. Custer Decl. ¶ 25. In many communities, a Planned

Parenthood Member health center is the only place to which a patient can turn for sexual and

reproductive health care. Id. ¶ 24; see also Brindis Decl. ¶ 26; infra p. 7. Planned Parenthood

Member health centers are also often more convenient and accessible than other providers. Custer

Decl. ¶ 33; see, e.g., Lee Decl. ¶ 22; Ghorbani Decl. ¶ 11; Brindis Decl. ¶¶ 23-25, 34, 70. For

example, Planned Parenthood Member health centers are often able to see patients on a walk-in

basis, and many offer early morning, evening, and weekend hours. Custer Decl. ¶¶ 33-35.

Members also offer telehealth services, which can make access to health care more convenient for

all patients, and can be especially beneficial for patients with disabilities, in remote areas, who

lack access to reliable transportation, or who have inflexible schedules. Id. ¶ 35. Members also

offer a comprehensive range of services unavailable from many other providers and deliver these

services in a culturally-sensitive manner. Id. ¶¶ 30-32, 53; see also Brindis Decl. ¶¶ 23-25.

               3.      Service and reimbursement under the Medicaid program

       Medicaid is a joint federal-state program under which the federal government provides

financial assistance to States to help them finance health care for eligible families and individuals

with low incomes. See Alexander v. Choate, 469 U.S. 287, 289 n.1 (1985). Although the program

is administered at the state level, the majority of Medicaid funding is provided by the federal

government. See Custer Decl. ¶ 41; Brindis Decl. ¶ 15. The Secretary of Health and Human

Services has the power to enforce Medicaid provider requirements. 42 U.S.C. §§ 1320a-7, 1320a-

7a. Medicaid typically works by reimbursement. Brindis Decl. ¶ 19. For example, a patient

enrolled in Medicaid may visit a health care provider for birth control, an STI test, a cervical cancer
                                                  6
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT        Document 5        Filed 07/07/25     Page 18 of 64




examination, and other covered care. The provider will then submit a reimbursement claim to a

State Medicaid agency for the services provided. The process by which providers enroll in

Medicaid differs by State. While States can establish qualification criteria, such as licensing,

enrollment processes, and performance standards, federal law establishes the general principle that

beneficiaries must be able to access any qualified provider, which has been interpreted to mean

that providers cannot be arbitrarily excluded from participating in Medicaid. See 42 U.S.C.

§ 1396a(a)(23).

       As part of their commitment to low-income and underserved communities, Planned

Parenthood Members participate in Medicaid programs in every state where they are able—46 of

47 Members in the 43 States where Members have health centers. Compl. ¶ 7 n.2; Custer Decl.

¶ 43. No Member limits the number of Medicaid patients that it will see. Compl. ¶ 7; Custer Decl.

¶ 43. In contrast, as a result of low reimbursement rates, many other health care providers may

implement policies that effectively limit the number of Medicaid patients they serve or choose not

to participate in Medicaid at all. Custer Decl. ¶ 42. As a result, in many communities, a Planned

Parenthood Member health center is the only place where individuals can receive sexual and

reproductive health care services through the Medicaid program. Id. ¶¶ 24, 26, 46.

       Planned Parenthood Members collectively serve over 1 million Medicaid patients each

year. Custer Decl. ¶¶ 5, 43. Over half of the patients who receive care at Planned Parenthood

Member health centers rely on Medicaid for their health care, and half of visits to Planned

Parenthood Member health centers are covered by Medicaid. Id. ¶ 43. Serving Medicaid patients

is a critical way in which Planned Parenthood Members carry out their missions of providing

comprehensive reproductive health care to all patients, regardless of their ability to pay. In the




                                                7
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT        Document 5        Filed 07/07/25     Page 19 of 64




2023 federal fiscal year, Medicaid reimbursements for services provided to Medicaid patients

constituted more than one-third of Planned Parenthood Members’ aggregate revenue. Id. ¶ 44.

       With extremely narrow exceptions, federal law has long prohibited the use of federal funds,

including Medicaid funds, for abortions. See Mass. ex rel. Dep’t of Pub. Welfare v. Sec’y of Health

& Hum. Servs., 749 F.2d 89, 95 (1st Cir. 1984) (discussing Harris v. McRae, 448 U.S. 297, 308-

09 (1980)). As a result, no federal funds, including Medicaid funds, are used to reimburse Planned

Parenthood Members for abortions, except under the narrow circumstances authorized by federal

law. Custer Decl. ¶ 45; Lee Decl. ¶ 26.

       B.      The Sweeping Purpose And Effect Of The Defund Provision: To Target And
               Punish Planned Parenthood

               1.     Legislative history of the Defund Provision

       The Defund Provision represents the culmination of a decades-long effort to use the

government’s power over funds to coerce and punish Planned Parenthood for being the face of the

movement to protect access to sexual and reproductive health care, including abortion. Members

of Congress and the Executive Branch have repeatedly and expressly made clear their intent to

coerce Planned Parenthood Members into abandoning the provision of abortion and to punish

Planned Parenthood for its nationwide abortion-rights advocacy. Although commonly referred to

as efforts to “defund” Planned Parenthood, there is no line item in the federal budget for Planned

Parenthood. Rather, Planned Parenthood Members, like any other health care providers in the

Medicaid program, provide eligible services to their patients and then submit a claim for

reimbursement to cover those services. See Custer Decl. ¶ 41. What the Defund Provision does—

through the creation of a “prohibited entity” label with criteria designed to target Planned

Parenthood—is bar Planned Parenthood Members from receiving reimbursement through federal

Medicaid funds and thus, in effect, from providing health care to Medicaid patients.


                                                8
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 20 of 64




       During President Trump’s first term in office, Congress frequently attempted to “defund”

Planned Parenthood. See Compl. ¶¶ 86-87. Most notably, in 2017, Congress considered—and

rejected by one vote—a bill that included language nearly identical to the Defund Provision. See

American Health Care Act, H.R. 1628, 115th Cong. (2017); S. Amend. 267, 115th Cong. (2017).

It was clear then that that language was intended to target Planned Parenthood, and it is still clear

now. Like the Defund Provision challenged here, H.R. 1628 did not use the words “Planned

Parenthood.” 2 But there was no question that the bill was designed to target Planned Parenthood,

as the bill’s supporters expressly acknowledged. For example, during the March 24, 2017, floor

debate on H.R. 1628, Representative Matt Gaetz (Florida) “implore[d] [his] conservative

colleagues to vote for this bill” because it would “defund[] Planned Parenthood.” 163 Cong. Rec.

H2373, H2409 (daily ed. Mar. 24, 2017) (statement of Rep. Gaetz). He then asked, “How long

have we been fighting to defund Planned Parenthood?” emphasizing that “defunding” Planned

Parenthood was one of the bill’s key objectives. Id. Later that day, Representative Kevin Brady

(Texas) likewise stated, “I am proud to defund Planned Parenthood once and for all.” Id. at H2433

(statement of Rep. Brady). H.R. 1628 passed the House but stalled in the Senate.

       As drafted, H.R. 1628 and other prior versions of the bill applied only to entities that

provided abortions and received more than $350 million in Medicaid funds in fiscal year 2014.



2
        Congress’s decision to describe Planned Parenthood in the bill, rather than name it
explicitly, was apparently a result of the reconciliation process. Under a parliamentary rule known
as the “Byrd Rule,” a reconciliation bill may not include provisions “‘extraneous’ to
reconciliation’s basic purpose of implementing budget changes.” See 2 U.S.C. § 644. Presumably,
and despite the unequivocal acknowledgments that the bill targeted Planned Parenthood, expressly
naming Planned Parenthood in the statutory language would have given lie to the claim that the
bill addressed a budgetary issue, instead of “extraneous” social policy, as both H.R. 1628 and this
Act are reconciliation bills. Nonetheless, as explained above and below, H.R. 1628, like its
successor, the Defund Provision, is plainly directed at Planned Parenthood—as supporters of this
statutory language have emphasized for years.

                                                 9
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 21 of 64




Compl. ¶ 88. That number was no accident, but rather yet more proof of the intended target of the

bill: Planned Parenthood Members collectively received over $350 million in Medicaid funds that

year.   Custer Decl. ¶ 48.     No other organization or group came close.           But the Senate

parliamentarian determined that “prohibit[ing]” only “Planned Parenthood from receiving

Medicaid funds for one year” 3 violated the Byrd Rule, which prohibits extraneous (i.e.,

nonbudgetary) matters from being included in reconciliation legislation under the Senate rules for

that process. Thus, in the Senate version of the bill, the threshold for qualification was reduced

from $350 million to $1 million, purportedly to bring one other unidentified entity within its scope.

See S. Amend. 340 to S. Amend. 267 to H.R. 1628. In any event, there is no question that the true

purpose of that bill, like the challenged enactment here, was to express disapproval of and punish

Planned Parenthood.

        Undeterred by the failed 2017 legislation, congressional efforts to “defund” Planned

Parenthood continued.      House members introduced bills that sought to “defund” Planned

Parenthood unless it certified that it would not provide abortions. Compl. ¶ 91. For example, H.R.

128, 118th Cong. (2023), the “Defund Planned Parenthood Act of 2023,” introduced by

Representative Lauren Boebert (Colorado), and H.R. 371, 118th Cong. (2023), the “Defund

Planned Parenthood Act of 2023,” proposed by Representative Michelle Fischbach (Minnesota),

sought to restrict any federal funding for Planned Parenthood, or any of its “affiliates or clinics,”

for one year unless it certified that its affiliates and clinics would not perform, and would not

provide funds to entities that perform, abortions during that year. In a press release announcing

H.R. 128, Representative Boebert stated, “[t]he nation’s largest abortion provider has no business


3
       S. Comm. on the Budget, 115th Cong., Background on the Byrd Rule Decisions from the
Senate Budget Committee Minority Staff (July 21, 2017), https://www.budget.senate.gov/imo/
media/doc/Background%20on%20Byrd%20Rule%20decisions_7.21[1].pdf.

                                                 10
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5       Filed 07/07/25      Page 22 of 64




receiving taxpayer dollars.” 4      Similarly, Representative Fischbach stated of her bill,

“[o]rganizations like Planned Parenthood receive millions of hard-earned taxpayer dollars every

year to provide abortions on demand.” 5 Other bills, like H.R. 6176, 118th Cong. (2023), the

“Protect Funding For Women’s Health Care Act,” introduced by Representative Robert B.

Aderholt (Alabama), simply aimed “to prohibit Federal funding of Planned Parenthood Federation

of America.” Similar bills have been introduced by members of the Senate and the House this

term. 6 And saying the quiet part out loud, entities politically opposed to abortion have released

ads and other materials seeking to defund Planned Parenthood Members in part because of the

work of Planned Parenthood advocacy and political organizations. 7




4
       Press Release, Rep. Lauren Boebert Introduces the Defund Planned Parenthood Act (Jan.
20, 2023), https://boebert.house.gov/media/press-releases/rep-lauren-boebert-introduces-defund-
planned-parenthood-act.
5
        Press Release, Rep. Fischbach Introduces the Defund Planned Parenthood Act and
Protecting Life and Taxpayers Act (Jan. 19, 2023), https://fischbach.house.gov/press-
releases?ID=67C83E37-B8FF-4E7C-AC0B-4EB21AAE68F9.
6
        See, e.g., Defund Planned Parenthood Act, S. 203, 119th Cong. (2025) (introduced by Sen.
Paul (Kentucky)); H.R. 271, 119th Cong. (2025) (introduced by Rep. Fischbach (Minnesota));
Protecting Funding for Women’s Health Care Act, S. 177, 119th Cong. (2025) (introduced by Sen.
Ernst (Iowa)); H.R. 599, 119th Cong. (2025) (introduced by Rep. Aderholt (Alabama)).
7
        For example, Susan B. Anthony Pro-Life America announced the launch of a six-figure
TV and digital ad campaign that followed sensational accusations about Planned Parenthood
Members’ abortion services with the conclusion, “all while they spend hundreds of millions
supporting Democrats. Stop forced taxpayer funding of the Big Abortion industry. Defund
Planned Parenthood.” Press Release, Six-Figure Ad Campaign Exposes How Big Abortion’s
Substandard ‘Care’ Harms Women & Girls (July 1, 2025), https://sbaprolife.org/newsroom/
press-releases/six-figure-ad-campaign-exposes-how-big-abortions-substandard-care-harms-
women-girls. Students for Life Action’s “National Month of Mobilization to DEFUND Planned
Parenthood & Big Abortion” included, as its “Week Five Theme” a suggestion that its members
contact their Senators to tell them that “Planned Parenthood is funding their political enemies,”
and specifically that“[a]head of last November’s elections, they spent $69.5 million bolstering pro-
abortion President Joe Biden & leading congressional Democrats.” Join Students for Life’s
National Month of Mobilization to DEFUND Planned Parenthood & Big Abortion,’ Students for
Life Action, https://www.studentsforlifeaction.org/defund/.

                                                11
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT        Document 5        Filed 07/07/25     Page 23 of 64




       These efforts to “defund” Planned Parenthood now culminate with the enactment of the

Defund Provision. See Compl. ¶ 93. Before the current congressional term began, Speaker

Johnson stated that “defunding” Planned Parenthood continued to be at the top of the Republican

agenda in the House; later, while discussing budget cuts, he confirmed that he was planning to

“axe” funding for Planned Parenthood. 8 On April 29, 2025, during a keynote address at a

fundraising event for an anti-abortion group, Speaker Johnson reiterated, “In the weeks ahead, the

House is going to be working on the One, Big, Beautiful Bill…. And we’re absolutely making it

clear to everybody that this bill is going to redirect funds away from Big Abortion,” 9 a long-used

pejorative for Planned Parenthood among anti-abortion groups. 10           On the House floor,

Representative Christopher Smith (New Jersey) called for the “defunding of Planned Parenthood”

to penalize it for performing abortions. 171 Cong. Rec. E255 (2025) (statement of Rep. Smith).

And despite acknowledging that defunding Planned Parenthood “doesn’t save money,”

Representative Andy Harris (Maryland) called on Congress to include reconciliation language to

defund Planned Parenthood because “[w]e shouldn’t be paying for institutions whose primary

purpose is to do abortions.” 11




8
     Speaker Mike Johnson, Speaker Johnson Joins The Story with Martha MacCallum,
YOUTUBE (Dec. 4, 2024), https://www.youtube.com/watch?v=VOM5wRs1WFc.
9
     SBA Pro-Life America, Speaker Mike Johnson at the SBA Pro-Life America Gala 2025,
YOUTUBE (Apr. 29, 2025), https://youtu.be/vZFDkKzIfq4?si=TZrNGsZRJ9Oigsct&t=794.
10
        See, e.g., Jamie Joseph, Defund ‘Big Abortion’ Industry That Thrived Under Biden, 150
Pro-life Groups Urge Congress, FOX NEWS (Mar. 26, 2025), https://www.foxnews.com/politics/
defund-big-abortion-industry-thrived-under-biden-150-pro-life-groups-urge-congress (letter from
anti-abortion groups encouraging Congress to “cut[] funding for Big Abortion, including Planned
Parenthood,” and then only citing statistics and claims about Planned Parenthood).
11
       Alice Ollstein, Knives Are Out for Planned Parenthood. In All 3 Branches of Government,
POLITICO (Feb. 13, 2025), https://www.politico.com/newsletters/politico-nightly/2025/
02/13/knives-are-out-for-planned-parenthood-in-all-3-branches-of-government-00204234.

                                                12
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
            Case 1:25-cv-11913-IT      Document 5       Filed 07/07/25      Page 24 of 64




        Now, Congress has chosen to attempt to defund Planned Parenthood in the same way that

failed in 2017. The Defund Provision initially started with the $1 million eligibility threshold

where the 2017 bill left off, but was again scaled down—this time to $800,000—to overcome the

Byrd Rule. Compl. ¶ 95. To Planned Parenthood’s knowledge, this lower eligibility threshold

may mean that a small number of additional entities have been swept into the statute’s coverage.

Id. But then, as now, the intent remains the same: to defund Planned Parenthood.

                 2.    The Defund Provision: text and purpose

        Through a contrived formulation designed to target Planned Parenthood without expressly

referring to it, the Defund Provision prohibits federal funds from being made available under

Medicaid to a “prohibited entity” for “services furnished during the 1-year period beginning on

the date of the enactment of this Act.” 12 Effective immediately, this Defund Provision bars

Planned Parenthood Members from being reimbursed for providing services to patients under the

federal Medicaid program.

        The statute defines a “prohibited entity” as “an entity”—“including its affiliates,

subsidiaries, successors, and clinics,” which are undefined terms in the statute—that meets four

criteria:

        (1) it “provides for abortions,” other than abortions in the case of rape or incest or
        where the pregnant patient’s life is in danger;

        (2) it is a 501(c)(3) not-for-profit, tax-exempt organization;



12
        While the Defund Provision defines a “prohibited entity” “as of the first day of the first
quarter beginning after the date of enactment of this Act,” it prohibits federal funds from being
disbursed “for items and services furnished during the 1-year period beginning on the date of the
enactment of this Act.” Section 71113(a), (b)(1)(A) (emphasis added). Accordingly, even if one
cannot know if an entity will qualify as a “prohibited entity” until next quarter, such a “prohibited
entity” would be prohibited from receiving Medicaid reimbursements for any services provided as
of July 4, 2025.

                                                 13
            MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5        Filed 07/07/25       Page 25 of 64




        (3) it “is an essential community provider described in” 45 C.F.R. § 156.235 “that
        is primarily engaged in family planning services, reproductive health, and related
        medical care”; and

        (4) “for which the total amount of Federal and State expenditures under the
        Medicaid program … in fiscal year 2023 made directly … to the entity or to any
        affiliates, subsidiaries, successors, or clinics of the entity, or made to the entity or
        to any affiliates, subsidiaries, successors, or clinics of the entity as part of a
        nationwide health care provider network, exceeded $800,000.”

        Some Planned Parenthood Members, including PPLM, independently satisfy the

requirements of the Defund Provision, and therefore qualify as “prohibited entit[ies]” under the

statute. See Custer Decl. ¶ 47; Lee Decl. ¶ 29. Others, including PPAU, either do not provide

abortion services or did not receive over $800,000 in Medicaid funds during fiscal year 2023 and

therefore do not independently meet this definition (the “Non-Qualifying Members”).                 See

Ghorbani Decl. ¶ 20; Custer Decl. ¶ 63.

        What is clear, however, is that each of the statute’s criteria for exclusion is specifically

drafted to target Planned Parenthood Members. When taken together, the overwhelming majority

of the entities that satisfy these four conjunctive statutory criteria—i.e., that provide abortions, are

501(c)(3) organizations, are essential community providers primarily engaged in family planning

services, reproductive health, and related medical care, and received more than $800,000 in

Medicaid funds in fiscal year 2023—are Planned Parenthood Members. Meanwhile, the Defund

Provision excludes from its scope virtually all other abortion providers, including those providers

that are for-profit organizations, that are not essential community providers primarily engaged in

family planning and reproductive health services, or that did not receive more than $800,000 in

Medicaid funds in fiscal year 2023. As the plain text of the Defund Provision alone makes clear,

its intended effect was to prevent Planned Parenthood Members from receiving Medicaid funds.

That is reaffirmed by statements from President Trump and members of Congress about earlier



                                                  14
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 26 of 64




(and functionally identical) versions of this statutory language that failed to pass in 2017. 13 And

it is further reaffirmed by statements from members of Congress opposing the bill in the current

congressional term—statements that none of the supporters of the Defund Provision even

attempted to dispute. 14

               3.      The devastating impact of the Defund Provision

       The Defund Provision, if not enjoined, will have devastating effects on Planned Parenthood

Members and their patients, as well as PPFA.

       The Defund Provision will jeopardize Planned Parenthood Members’ ability to provide

necessary and often life-saving care to their patients, especially their most vulnerable patients who

are in need of health care. Custer Decl. ¶ 54. Most immediately, the Defund Provision will


13
        See, e.g., 163 Cong. Rec. H4113, H4143 (daily ed. May 4, 2017) (statement of Rep. Dunn)
(“This act … defunds Planned Parenthood.”); 163 Cong. Rec. H2373, H2409 (daily ed. Mar. 24,
2017) (statement of Rep. Gaetz) (“This legislation … defund[s] Planned Parenthood. How long
have we been fighting to defund Planned Parenthood?”); id. at H2414 (statement of Rep. Marshall)
(“This bill eliminates funding for Planned Parenthood.”); id. at H2425 (statement of Rep. Brady)
(“I am pleased to say this bill defunds Planned Parenthood.”); id. at H2433 (statement of Rep.
Brady) (“I am proud to defund Planned Parenthood once and for all.”); 163 Cong. Rec. H1951,
H1956 (daily ed. Mar. 9, 2017) (statement of Rep. Barr) (the law “blocks Federal funds from
Planned Parenthood”); see also Donald J. Trump (@realDonaldTrump), X (Mar. 24, 2017, 8:23
a.m. ET), https://x.com/realdonaldtrump/status/845249587178819584? (“The irony is that the
Freedom Caucus, which is very pro-life and against Planned Parenthood, allows P.P. to continue
if they stop this plan!”).
14
        See, e.g., 171 Cong. Rec. H2219, H2226 (daily ed. May 21, 2025) (statement of Rep.
DeGette) (“[T]he bill … defunds Planned Parenthood, which means if this bill passes, 1 million
Americans will have no pap smears. They will have no breast cancer screenings. They will have
no well-women visits.”); id. at H2230-2231 (statement of Rep. Ocasio-Cortez) (“Republicans have
put this bill together, rushed it together in a matter of hours …. They are defunding Planned
Parenthood …. [T]hey voted to defund Planned Parenthood and take away healthcare from 13.7
million Americans.”); id. at H2340 (statement of Rep. Trahan) (“[T]his bill … is a targeted attack
on Planned Parenthood … without even naming the organization, by using vague criteria clearly
designed to single them out.”); 171 Cong. Rec. S2869, S2886 (daily ed. May 13, 2025) (statement
of Sen. Sanders) (“[T]his bill essentially defunds Planned Parenthood, which provides vital
healthcare to millions of women.”); see also H.R. Rep. No. 119-113, at 9 (2025) (describing
unsuccessful motion by Rep. Scanlon to “strike[] the section that defunds Planned Parenthood”).

                                                 15
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5       Filed 07/07/25      Page 27 of 64




jeopardize care for the more than 1 million Planned Parenthood Member patients who are enrolled

in Medicaid and who will no longer be able to use Medicaid to receive services at Planned

Parenthood Member health centers. Id. ¶¶ 4-5, 49-55; Lee Decl. ¶ 35; Ghorbani Decl. ¶¶ 20-21;

Ex. 4, Declaration of Jenna Tosh (“Tosh Decl.”) ¶¶ 44-47. Many of those patients, particularly

those in areas designated by the federal government as lacking access to primary care services,

will not be able to find alternative providers, and thus will lose access to care altogether. Custer

Decl. ¶¶ 4-5, 52-56; Lee Decl. ¶¶ 36-38; Ghorbani Decl. ¶¶ 22-23; Tosh Decl. ¶¶ 52-54; see infra

p. 41. And even for patients who live in areas with other providers, there is no way such providers

will be able to fill the gaps left by the reduced capacity and/or closures of Planned Parenthood

Member health centers in those areas. Custer Decl. ¶¶ 49-56; Brindis Decl. ¶¶ 35-59.

       Due to the immense role Planned Parenthood Members play in providing services, other

publicly supported clinics in some states would have to more than double their caseloads to meet

the needs of patients currently served by Planned Parenthood Members. Brindis Decl. ¶¶ 40-41.

And even if those patients were eventually able to find care elsewhere, they will face disruptions

in care to the serious detriment of their health—for example, undetected STIs and cancers, or

unintended pregnancies. Custer Decl. ¶ 56. All in all, the Defund Provision’s impact is not simply

a matter of redirecting patients from Planned Parenthood Members’ clinics to other providers; it

will without doubt mean that many patients do not receive the care they need when they need it.

       The Defund Provision will also result in drastic revenue shortfalls for many Planned

Parenthood Members. See Custer Decl. ¶¶ 60-64. In many states, Planned Parenthood Members

provide services to large numbers of Medicaid patients, and in turn rely heavily on receiving

Medicaid reimbursements for those services. In the aggregate, more than one-third of Members’

total revenue is from Medicaid reimbursements for services provided; some members receive the



                                                16
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5        Filed 07/07/25       Page 28 of 64




vast majority of their health services revenue from Medicaid reimbursement. Id. ¶ 44. Should

Members be unable to serve Medicaid patients, they will be forced to terminate employees, curtail

services, and close health centers—with grave consequences for thousands of patients served at

those centers. Id. ¶¶ 47, 54-55; Tosh Decl. ¶¶ 46-48. For example, PPLM anticipates needing to

reduce overall costs by 20 to 25%. Lee Decl. ¶ 40. PPAU anticipates that it will likely have to lay

off full-time staff, limit the services it provides, and potentially close health centers in areas with

few options for Medicaid patients. Ghorbani Decl. ¶¶ 22-24. And even if funding is later restored,

these harms will have lasting, long-term effects, as it is extremely difficult, time-consuming, and

expensive to reopen health centers once closed—often prohibitively so. Tosh Decl. ¶ 46.

       Other Planned Parenthood Members and their patients will be harmed in similar—and

sometimes more sweeping—ways. Compl. ¶¶ 114-22; see Custer Decl. ¶¶ 60-64. California

presents a particularly devastating example. Seven Planned Parenthood Members operate 115

health centers in California, collectively providing care to over 700,000 patients each year. Tosh

Decl. ¶ 19. Over 80% of Planned Parenthood Member patients in California rely on California’s

Medicaid (Medi-Cal) program for their health care coverage. Id. ¶ 4. California Planned

Parenthood Member health centers collectively provide approximately $425 million of services

annually to patients covered by Medi-Cal and related programs, and 77%, or $328 million worth

of services, are reimbursed using federal funds. Id. ¶ 38. These Members see almost half of the

1.2 million contraceptive care clients served by safety-net family planning centers in the State. Id.

¶ 50. If not enjoined, the Defund Provision will require Planned Parenthood California Members

to reduce services, lay off many of their 3,000 employees, and close clinics. Id. ¶¶ 45, 48. Such

closures in turn will significantly reduce access to health care across the State, with no hope that

other publicly funded providers will be able to fill the gap. Id. ¶¶ 47-52.



                                                  17
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 29 of 64




       The expert declaration of Dr. Claire Brindis, Distinguished Professor Emerita in the

Department of Pediatrics and the Department of Obstetrics, Gynecology and Reproductive Health

Sciences at the University of California, San Francisco, underscores the harms that will directly

result from the Defund Provision. As she explains, the statute creates an immediate health crisis

for—at a minimum—over a million Medicaid patients who may no longer be able to obtain

services at Planned Parenthood Member health centers. Brindis Decl. ¶ 35. Other publicly funded

health care providers, already stretched to capacity, do not provide the same services and will not

be able to make up the shortfall in coverage. See id. ¶¶ 35-59. That loss in access to reproductive

health care will, in turn, lead to a broader public health crisis. See id. ¶¶ 60-62. As Dr. Brindis

explains, the Defund Provision will lead to (among other consequences) higher rates of STIs and

unintended pregnancies. Id. ¶¶ 63-81. Moreover, the Defund Provision will likely result in an

increased number of abortions due to the decreased access to contraceptives and the corresponding

increase in the number of unintended pregnancies. Id. ¶ 71. These harms will be costly not only

physically for patients, including mothers and children, but also fiscally for society. Id. ¶¶ 67-73.

Dr. Brindis’s opinions are buttressed by state-level defunding experiences that have demonstrated

the negative effect on health outcomes resulting from restrictions on patient access to Planned

Parenthood Members. Id. ¶¶ 87-107; Custer Decl. ¶¶ 65-73.

       The harms to Planned Parenthood Members across the country will also harm PPFA

itself—including by striking at the heart of PPFA and the Members’ core mission of ensuring

access to vital sexual and reproductive health care for all. Custer Decl. ¶¶ 59, 78-79.

                                   STANDARD OF REVIEW

       The legal standard applicable to temporary restraining orders is “‘the same as for a

preliminary injunction.’” Orkin v. Albert, 557 F. Supp. 3d 252, 256 (D. Mass. 2021). A party



                                                 18
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
         Case 1:25-cv-11913-IT          Document 5        Filed 07/07/25       Page 30 of 64




seeking a preliminary injunction or temporary restraining order must demonstrate that four

interests are in its favor:

        (i) the likelihood that the movant will succeed on the merits; (ii) the possibility that,
        without an injunction, the movant will suffer irreparable harm; (iii) the balance of
        relevant hardships as between the parties; and (iv) the effect of the court’s ruling
        on the public interest.

Coquico, Inc. v. Rodriguez-Miranda, 562 F.3d 62, 66 (1st Cir. 2009). The first factor—likelihood

of success on the merits—is the “most important” and serves as the “sine qua non” of the analysis.

Akebia Therapeutics, Inc. v. Azar, 976 F.3d 86, 92 (1st Cir. 2020). But “an inquiring court need

not conclusively determine the merits of the movant’s claim” at the preliminary injunction stage;

rather, it must “simply … evaluate the likelihood vel non that the movant ultimately will prevail

on the merits.” Ryan v. U.S. Immigr. & Customs Enf’t, 974 F.3d 9, 18 (1st Cir. 2020). In addition,

“an attempt to show irreparable harm cannot be evaluated in a vacuum; the predicted harm and the

likelihood of success on the merits must be juxtaposed and weighed in tandem.” Ross-Simons of

Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 19 (1st Cir. 1996). Here, all four factors tip sharply

in Plaintiffs’ favor.

                                            ARGUMENT

I.      PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR CLAIMS

        A.      The Defund Provision Is An Unconstitutional Bill Of Attainder

        The Defund Provision is Congress’s attempt to punish Planned Parenthood for being, for

generations, the Nation’s foremost advocate for sexual and reproductive rights and, if its Members

are treated collectively, the only nationwide abortion provider. That makes the Defund Provision

a bill of attainder, in violation of U.S. Const. art. I, § 9, cl. 3. The Bill of Attainder Clause is

intended to prohibit “trial by legislature.” United States v. Brown, 381 U.S. 437, 442 (1965). It

makes plain that legislatures must accomplish their objectives “by rules of general applicability”


                                                   19
         MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
         Case 1:25-cv-11913-IT           Document 5    Filed 07/07/25      Page 31 of 64




and “cannot specify [those] upon whom the sanction it prescribes is to be levied.” Id. at 461.

Because the Defund Provision singles out Planned Parenthood for punishment, it is an

unconstitutional bill of attainder.

        There are three elements of an unconstitutional bill of attainder: “[1] specification of the

affected persons, [2] punishment, and [3] lack of a judicial trial.” Selective Serv. Sys. v. Minn.

Pub. Int. Rsch. Grp., 468 U.S. 841, 847 (1984). Each is satisfied here.

                1.      The Defund Provision specifies Planned Parenthood

        The Defund Provision plainly specifies Planned Parenthood as its object. Though not

explicitly named, Planned Parenthood is the “easily ascertainable” target of the law. United States

v. Lovett, 328 U.S. 303, 315 (1946). The statutory definition of “prohibited entity” was designed

to target Planned Parenthood specifically—stacking qualifications until nearly all of the entities

covered are Planned Parenthood Members. Supra pp. 13-15. And the legislative history and

context confirm that this was the intent. 15 Supra pp. 8-13. Statutes gerrymandered to target one

group meet the specification requirement. See SeaRiver Mar. Fin. Holdings, Inc. v. Mineta, 309

F.3d 662, 669-70 (9th Cir. 2002) (“A statute need not identify an individual or group by name to

incur suspicion.”). Because the Defund Provision specifies Planned Parenthood in all but name,

this element of the test is satisfied.




15
        Among other things, the legislative history demonstrates that the nearly identical 2017 bill
was initially drafted so that only Planned Parenthood Members were captured. Then and
continuing through the Defund Provision’s eventual enactment of the same functional language,
the requirement for the amount of Medicaid funds received was incrementally decreased
specifically to avoid Byrd Rule problems, until it could squeak through the Senate Parliamentarian
process. Capturing another entity as collateral damage in order to get around the Byrd Rule does
not change the bottom line here: that Planned Parenthood was the clear target of the bill.

                                                20
         MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
         Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 32 of 64




                2.      The Defund Provision punishes Planned Parenthood

         The Defund Provision also imposes “punishment” on Planned Parenthood. Courts consider

three factors to determine whether legislation inflicts punishment: “(1) whether the challenged

statute falls within the historical meaning of legislative punishment; (2) whether the statute,

‘viewed in terms of the type and severity of burdens imposed, reasonably can be said to further

nonpunitive legislative purposes’; and (3) whether the legislative record ‘evinces a congressional

intent to punish.’” Selective Serv. Sys., 468 U.S. at 852 (quoting Nixon v. Adm’r of Gen. Servs.,

433 U.S. 425, 475-76, 478 (1977)). None of those inquiries is dispositive, see Consol. Edison Co.

of N.Y., Inc. v. Pataki, 292 F.3d 338, 350 (2d Cir. 2002), but here, the Defund Provision meets all

three.

         First, the statute falls within the historical meaning of legislative punishment. Traditional

forms of punishment forbidden by the Bill of Attainder Clause include “legislative bars to

participation by individuals or groups in specific employments or professions.” Selective Serv.

Sys., 468 U.S. at 852. By barring Medicaid reimbursement, the Defund Provision prevents Planned

Parenthood Members from continuing to serve Medicaid patients, the consequence of which

“would be to put plaintiff[s] out of business, or at least to put plaintiff[s] out of the business in

which [they have] been engaged to date.” Fla. Youth Conservation Corps., Inc. v. Stutler, 2006

WL 1835967, at *1 (N.D. Fla. June 30, 2006). Categorically excluding Planned Parenthood

Members from their longstanding participation in Medicaid “is analogous to legislation that

prohibits a person or entity from engaging in certain employment, which courts have historically

found to be associated with punishment.” Planned Parenthood of Cent. N.C. v. Cansler, 877 F.

Supp. 2d 310, 324 (M.D.N.C. 2012) (“PPCNC”) (holding that state law prohibiting Planned

Parenthood organizations from receiving government funds was an unconstitutional bill of

attainder). Indeed, just as the Supreme Court held in Lovett that a statute barring the appropriation
                                                  21
         MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
         Case 1:25-cv-11913-IT         Document 5       Filed 07/07/25        Page 33 of 64




of federal funds for the salaries of specific government employees was a bill of attainder, so too

the Defund Provision is not “a mere appropriation measure,” but rather is a “proscription from any

opportunity to serve” the public. Lovett, 328 U.S. at 305 n.1, 313, 316. 16

        Second, the Defund Provision does not advance any nonpunitive legislative purpose. See

Nixon, 433 U.S. at 475-76. The legislative history and context reflect only a plain intent to punish.

See supra pp. 8-13. But to the extent the government seeks to save the Defund Provision by

invoking some other purpose after the fact, there are, at best, only two even conceivable interests

the government might assert: (1) preventing federal funds from being used for abortion; and (2)

saving the government money. Neither provides the government any help because neither relates

to the actual statutory text.

        The Defund Provision does not prevent taxpayer dollars from paying for abortions. Under

the Hyde Amendment, federal law for decades has prohibited federal Medicaid money from

funding abortions except in the narrowest of circumstances. See Mass. ex rel. Dep’t of Pub.

Welfare v. Sec’y of Health & Hum. Servs., 749 F.2d 89, 95 (1st Cir. 1984). Medicaid is

traditionally a fee-for-service program, see supra pp. 6-8, in which providers are reimbursed on a

service-by-service basis for the eligible services they provide. Federal Medicaid flatly does not


16
        It is of no matter that “prohibited entity” is defined in the Defund Provision “as of” a later
date. “Punishment is not limited solely to retribution for past events, but may involve deprivations
inflicted to deter future misconduct.” Selective Serv. Sys., 468 U.S. at 851-52 (citing Brown, 381
U.S. at 458-59). The impetus behind the Defund Provision is, in any event, Congress’ disapproval
of the prior conduct of Planned Parenthood Members—specifically, decades of providing and
advocating for access to abortion care. Nor does attaching the statutory definition to a later date
“leave[] open perpetually the possibility of qualifying for aid,” id. at 853 (emphasis added), as the
prohibition against receiving Medicaid reimbursements begins “on the date of the enactment,” and
nothing in the Defund Provision suggests that Planned Parenthood Members have a continuing
ability to avoid its effects. See Cummings v. Missouri, 71 U.S. 277, 318 (1866) (striking state
constitutional amendment as an unconstitutional bill of attainder, despite individuals’ ability to
avoid employment prohibitions by stating under oath that they had not given aid or comfort to the
Confederacy because the oath requirement was retrospective).

                                                 22
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5        Filed 07/07/25      Page 34 of 64




cover abortions except within the Hyde Amendment’s narrow exceptions (which are repeated in

the Defund Provision). Thus, rather than restricting federal Medicaid funding for abortion, the

Defund Provision categorically prohibits Medicaid reimbursement for all the contraception,

screening and treatment for cancer, STIs, and other non-abortion medical services of the

“prohibited entit[ies].” Moreover, unlike Planned Parenthood Members, the Defund Provision

leaves nearly every other abortion provider in the country eligible for Medicaid reimbursements

for the non-abortion medical services they provide. See PPCNC, 877 F. Supp. 2d at 324. Thus,

the statute targets Planned Parenthood, not abortion.

       Nor can the law be justified based on the purported interest of saving the government

money. In fact, the Congressional Budget Office (the “CBO”) concluded that the Defund

Provision’s one year defund will actually increase government expenditures by $52 million over

the course of ten years. See Cong. Budget Off, Estimated Budgetary Effects of an Amendment in

the Nature of a Substitute to H.R. 1, the One Big Beautiful Bill Act, Relative to CBO’s January

2025 Baseline (June 29, 2025), https://www.cbo.gov/publication/61534 (hereinafter “CBO

Report”). Regardless, even if the Defund Provision were purportedly to save money, it would not

be permissible for Congress to target entities for funding cuts in an arbitrary way, as discussed

further below in Section I.B (equal protection).

       For these reasons, there is no legitimate justification for barring Planned Parenthood

Members from receiving federal Medicaid reimbursements.               The absence of a legitimate

justification is sufficient, in and of itself, to establish that it is “at least conceivable that the …

legislature intended to punish Plaintiffs.” Fowler Packing Co. v. Lanier, 844 F.3d 809, 818 (9th

Cir. 2016). Here, the government’s punitive intent is more than just conceivable, but rather

confirmed by the history and context of the Defund Provision. See supra pp. 8-15.



                                                   23
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT           Document 5        Filed 07/07/25       Page 35 of 64




        Third, the legislative record is replete with evidence of intent to punish Planned

Parenthood. “Outright statements of punitive intent are not necessary [to prove congressional

intent to punish]; instead, [courts] look for evidence permitting an inference of punitive intent.”

Fowler Packing Co., 844 F.3d at 818. But here, congressional supporters of the Defund Provision

made their intentions clear, expressly reaffirming their point was to target Planned Parenthood.

See supra pp. 8-13. These punitive expressions further demonstrate that the Defund Provision is

focused solely on punishment, rather than on any legitimate legislative purpose. See Consol.

Edison Co., 292 F.3d at 355 (“[T]he stated intent of at least some legislators—most notably one

of the floor managers of the legislation—to punish [the plaintiff] reinforces [the] conclusion that

a substantial part of the legislation cannot be justified by any legislative purpose but punishment.”).

                3.      The Defund Provision does not afford Planned Parenthood a trial

        There can be no question that the Defund Provision punishes Planned Parenthood without

a trial. Indeed, the absence of any trial is a necessity for the Defund Provision to have its intended

effect, which is to punish Planned Parenthood’s lawful activities—providing legal abortions and

exercising the right to advocate for access to abortion and other forms of sexual and reproductive

healthcare. Because it singles out Planned Parenthood for punishment without a judicial trial, the

Defund Provision is an unconstitutional bill of attainder in violation of U.S. Const. art. I, § 9, cl. 3.

        B.      The Defund Provision Violates Equal Protection

        The Defund Provision also violates the Fifth Amendment’s equal protection guarantee.

Equal protection directs “that all persons similarly situated should be treated alike.” City of

Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985). By design, the Defund Provision

prohibits Planned Parenthood Members from receiving Medicaid payments while leaving other

similar providers untouched.       See supra pp. 14-15.       It defines “prohibited entity” using a

combination of conjunctive criteria that rule out nearly every other medical provider participating

                                                   24
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT        Document 5        Filed 07/07/25      Page 36 of 64




in Medicaid except Planned Parenthood Members. Id. This differential treatment “impinges upon

fundamental freedoms,” triggering heightened scrutiny. Eisenstadt v. Baird, 405 U.S. 438, 447

n.7 (1972); see also Kramer v. Union Free Sch. Dist. No. 15, 395 U.S. 621, 626 (1969). And

regardless, the Defund Provision cannot survive any level of scrutiny.

       First, the Defund Provision is subject to strict scrutiny because it impinges on Planned

Parenthood’s First Amendment right of association. The history and context of the Defund

Provision make clear that it treats Planned Parenthood Members—each of which is an independent

corporation with its own leadership, board, finances, and autonomous operations—differently

from other health care providers simply because they associate with PPFA and each other. See

supra pp. 8-13 (citing legislative history); supra pp. 3-5 (explaining Planned Parenthood’s

federation structure).

       The design of the Defund Provision itself demonstrates that its prohibition is not just about

providing abortion. If it were, the Defund Provision would apply to more than just Planned

Parenthood Members and nearly no one else. Instead, Congress enacted a provision that leaves

virtually all abortion providers who participate in Medicaid—other than Planned Parenthood

Members—unaffected. Nor is this defund even directed at organizations who received over

$800,000 Medicaid dollars in fiscal year 2023, since providers above that threshold, even those

providing abortions, may nevertheless continue to count on Medicaid payments so long as they

are not a 501(c)(3) not-for-profit that is an essential community provider “primarily engaged in

family planning services, reproductive health, and related medical care.”             See Section

71113(b)(1)(A). And underscoring the point of these multiple requirements, the Defund Provision

refers to a “nationwide health care provider network”—an undefined term that, despite failing to

accurately describe Planned Parenthood’s structure, appears intended to refer to Planned



                                                25
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5       Filed 07/07/25      Page 37 of 64




Parenthood’s visible and unique membership association, through which its Members provide

health care to Medicaid-insured patients across the nation. Section 7113(b)(1)(B).

       In short, despite refraining from using the Planned Parenthood name, the statute plainly

defunds Planned Parenthood Members for a reason that uniquely applies to them—their

participation in the Nation’s largest and most high-profile membership association of abortion

providers. The fundamental associational right is protected by the First Amendment. See Roberts

v. U.S. Jaycees, 468 U.S. 609, 618, 622 (1984) (the Supreme Court has “long understood as

implicit in the right to engage in activities protected by the First Amendment a corresponding right

to associate with others” which is “an indispensable means of preserving other individual

liberties.”); NAACP v. Ala. ex rel. Patterson, 357 U.S. 449, 460-61 (1958) (recognizing right “to

engage in association for the advancement of beliefs and ideas”); Healy v. James, 408 U.S. 169,

185-86 (1972).

       “Classifications that impinge on ‘fundamental rights,’ including free speech rights, are

subject to strict scrutiny and will only be upheld if ‘precisely tailored to serve a compelling

governmental interest.’” Rocket Learning, Inc. v. Rivera-Sanchez, 715 F.3d 1, 9 n.6 (1st Cir. 2013)

(quoting Plyler v. Doe, 457 U.S. 202, 217 (1982)). The Defund Provision cannot meet this

standard and indeed could not survive any level of scrutiny. As discussed above in Section I.A

(bill of attainder), the Defund Provision does not serve a legitimate purpose, much less is it

narrowly tailored to achieve a compelling one. It does not prevent taxpayer dollars from paying

for abortions. Rather than save money, the CBO has determined that the Defund Provision will

actually cost the government money overall. CBO Report, supra pp. 23-24. Even if the Defund

Provision did reduce government spending, a classification does not survive an equal protection

challenge simply by saving the government money. See Saenz v. Roe, 526 U.S. 489, 507 (1999)



                                                26
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5       Filed 07/07/25      Page 38 of 64




(“[T]he State’s legitimate interest in saving money provides no justification for its decision to

discriminate among equally eligible citizens.”). Congress might shrink Medicaid expenditures by

disqualifying patients with blonde hair, but such a classification would nevertheless be arbitrary

and unconstitutional.

       The true design of the Defund Provision is to punish Planned Parenthood because of its

unique role in providing abortions and advocating for abortion rights and access across the country.

See supra pp. 9-15, 21-25. At its core and in context, the law is “inexplicable by anything but

animus.” Romer v. Evans, 517 U.S. 620, 632 (1996). Such a “bare … desire to harm” a group is

not a legitimate, much less compelling, reason for singling them out. Id. at 634 (“[I]f the

constitutional conception of ‘equal protection of the laws’ means anything, it must at the very least

mean that a ‘bare … desire to harm a politically unpopular group cannot constitute a legitimate

governmental interest.” (alterations and emphasis in original) (quoting U.S. Dep’t of Agric. v.

Moreno, 413 U.S. 528, 534 (1973)).

       Even if rational basis review applied, such improper justifications would still mean that the

Defund Provision is unlawful. At the very least, equal protection demands “some rationality in

the nature of the class singled out.” Rinaldi v. Yeager, 384 U.S. 305, 308-09 (1966). Fueled solely

by ill will, the Defund Provision targets Planned Parenthood Members for exclusion from federal

Medicaid reimbursement while allowing the vast majority of other clinics that provide the same

services, including abortions, to participate fully in Medicaid. Planned Parenthood “has been

intentionally treated differently from others similarly situated,” and “there is no rational basis for

the difference in treatment.” Village of Willowbrook v. Olech, 528 U.S. 562, 564 (2000); see also

SBT Holdings, LLC v. Town of Westminster, 547 F.3d 28, 34-35 (1st Cir. 2008).




                                                 27
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 39 of 64




       C.      The Defund Provision Unconstitutionally Retaliates Against Planned
               Parenthood’s Exercise Of Its First Amendment Rights

       Targeting Planned Parenthood for its political stances on reproductive health, the Defund

Provision also runs afoul of the First Amendment. As that Amendment provides, “Congress shall

make no law … abridging the freedom of speech[.]” U.S. Const. amend. I. Congress cannot

“punish or suppress disfavored expression,” Nat’l Rifle Ass’n v. Vullo, 602 U.S. 175, 188 (2024),

or retaliate against such expression, Lozman v. City of Riviera Beach, 585 U.S. 87, 90 (2018). As

such, “the government may not deprive an individual of a ‘valuable government benefit[]’ in

retaliation for his or her exercise of First Amendment rights,” Barton v. Clancy, 632 F.3d 9, 23

(1st Cir. 2011), including the right to free speech and of association. “For if the government could

deny a benefit to a person because of his constitutionally protected speech or associations, his

exercise of those freedoms would in effect be penalized and inhibited.” Perry v. Sindermann, 408

U.S. 593, 597 (1972). The Defund Provision undertakes to do just that by terminating Medicaid

funding for Planned Parenthood Members and next to no one else.

       To state a First Amendment retaliation claim, a plaintiff must allege that it (1) “‘engaged

in constitutionally protected conduct,’” was (2) “‘subjected to adverse [government] action,’” and

(3) that “‘the protected conduct was a substantial or motivating factor in the adverse action’” such

that retaliatory animus was the but-for cause of the injury. Gattineri v. Town of Lynnfield, 58 F.4th

512, 514-15 (1st Cir. 2023). All three elements are satisfied here.

       First, PPFA and its Members engage in First Amendment protected activity. They do so

by advocating (together with national, state, and local Planned Parenthood 501(c)(4) social welfare

organizations) for policies to protect and expand access to sexual and reproductive health care,

including abortion. And to speak and act together, Members associate with PPFA and with one




                                                 28
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 40 of 64




another, exercising the associative right “implicit in the right to engage in activities protected by

the First Amendment.” U.S. Jaycees, 468 U.S. at 622.

       Second, terminating Medicaid eligibility constitutes an adverse action.         The Defund

Provision punishes Planned Parenthood Members for their association with each other and with

PPFA, see supra Part I.B (equal protection), by stopping the flow of hundreds of millions of dollars

in Medicaid reimbursements that they would otherwise qualify to receive—a denial of a “valuable

government benefit.” Clancy, 632 F.3d at 23. With that much at stake, such a disqualification

would “‘deter a reasonably hardy individual’” from associating with Planned Parenthood or from

advocating for the protection and expansion of access to sexual and reproductive health care,

including abortion. McCue v. Bradstreet, 807 F.3d 334, 339 (1st Cir. 2015).

       As discussed above, Planned Parenthood’s visible and unique membership association,

which serves its mission on a nationwide scale, sets it apart. Intentional animus against Planned

Parenthood’s message and mission animates the Defund Provision, see supra pp. 8-15, 28-29, and

Planned Parenthood Members’ association with each other and PPFA is the reason they have been

carved out for differential treatment, see supra pp. 25-27. Taken together, both the statute’s text

and historical context demonstrate retaliatory animus, a desire to pressure caregivers who associate

with Planned Parenthood and its mission of promoting reproductive health to those in need. Supra

pp. 25-29. Tainted by this animus, the Defund Provision violates the First Amendment.

       D.      The Non-Qualifying Members Are Likely To Succeed On Their Additional
               Claims

       The Defund Provision is unconstitutional and should be enjoined as to all Planned

Parenthood Members. But even if the Defund Provision were otherwise lawful on its face, it would

still not lawfully exclude ten Planned Parenthood Members, including Plaintiff PPAU, from

Medicaid. See Custer Decl. ¶ 63; Ghorbani Decl. ¶ 18. First, the Non-Qualifying Members—who


                                                 29
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5       Filed 07/07/25      Page 41 of 64




either do not provide abortions or did not receive more than $800,000 in fiscal year 2023—are

neither “prohibited entit[ies]” nor “affiliates, subsidiaries, successors, or clinics” thereof. Yet,

because the Non-Qualifying Members face a credible fear of enforcement, notwithstanding the

plain language of the statute, they have no choice but to immediately stop submitting claims for

Medicaid reimbursement absent injunctive relief from the Court. See Ghorbani Decl. ¶¶ 20-21.

Second, should the Court determine that the Non-Qualifying Members are nonetheless covered by

the Defund Provision, the statute as so construed is unconstitutional because it is unconstitutionally

vague and violates their First Amendment right to association.

               1.      Declaratory relief is warranted to prevent enforcement against Non-
                       Qualifying Members that do not independently qualify as “prohibited
                       entit[ies]”

       As explained, the Defund Provision defines a “prohibited entity” as one that, among other

things, “provides for abortions” and received more than $800,000 in Medicaid reimbursements in

fiscal year 2023. Three Planned Parenthood Members that participate in Medicaid do not provide

abortion services because it is not legal where their health centers are located. Custer Decl. ¶ 63.

Other Planned Parenthood Members, including Plaintiff PPAU, received less than $800,000 in

Medicaid reimbursements in fiscal year 2023. Id.; Ghorbani Decl. ¶ 18. These Non-Qualifying

Members therefore do not independently qualify as “prohibited entit[ies]” under the Defund

Provision. However, because of the government’s long history of targeting Planned Parenthood

at both the federal and state level, the Non-Qualifying Members seek declaratory relief confirming

that they are not “prohibited entit[ies]” so that they can seek Medicaid reimbursement without

threat of unwarranted enforcement actions.

       No reasonable interpretation of the terms “affiliates, subsidiaries, successors, [or] clinics”

should lead to the conclusion that one Planned Parenthood Member’s status as a “prohibited entity”

means that an entirely separate Member should be excluded from Medicaid.
                                                 30
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5       Filed 07/07/25      Page 42 of 64




       First, one Planned Parenthood Member is not an “affiliate[]” of another. Congress is

assumed to know and adopt “the widely accepted legal definitions of meanings associated with the

specific words enshrined in the statute,” and courts “[p]redictably” will “turn to Black’s Law

Dictionary to glean the most widely accepted legal meaning” of the term in question. United States

v. Nason, 269 F.3d 10, 15-16 (1st Cir. 2001). Here, Black’s Law Dictionary speaks clearly, focused

on the core requirement of “control”: an “affiliate” is “[a] corporation that is related to another

corporation by shareholdings or other means of control; a subsidiary, parent, or sibling

corporation.” “Affiliate,” Black’s Law Dictionary (12th ed. 2024). Such a definition—capturing

circumstances in which one entity controls another, or two entities are under common control of a

third—is used consistently across a wide range of contexts. See, e.g., Int’l Confections Co. v. Z

Cap. Grp., LLC, 2023 WL 335285, at *2 (6th Cir. Jan. 20, 2023) (many State and federal laws

define affiliate “in similar ways,” specifically where “[a]ny ‘person that directly or indirectly

through one or more intermediaries controls, or is controlled by, or is under common control with,

the person specified’”) (quoting Utah Code Ann. § 16-10a-102(2)); Xiaomi Corp. v. Dep’t of Def.,

2021 WL 950144, at *6-7 (D.D.C. Mar. 12, 2021) (“overwhelming weight of authority” supports

a definition of affiliate where one company is “effectively controlled by another or associated with

others under common ownership or control”).

       “Control” is in turn typically defined to require an entity to own or manage another. See,

e.g., “Control,” Black’s Law Dictionary (12th ed. 2024) (“The direct or indirect power to govern

the management and policies of a person or entity, whether through ownership of voting securities,

by contract, or otherwise; the power or authority to manage, direct, or oversee”). Defining

“control” in terms of one entity’s actual ownership or management of another is consistent across

many contexts, including in the Medicaid Act for purposes of determining whether one entity can



                                                31
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
         Case 1:25-cv-11913-IT         Document 5       Filed 07/07/25      Page 43 of 64




be terminated from Medicaid or otherwise sanctioned for the conduct of a different entity. See,

e.g., 42 U.S.C. § 1320a-3(a)(3) (defining “person with an ownership or control interest” to include

entities where a sanctioned person has a direct or indirect “ownership interest of 5 per centum or

more in the entity,” who “is an officer or director of the entity, if the entity is organized as a

corporation,” or who “is a partner in the entity, if the entity is organized as a partnership”); 42

U.S.C. § 1395w-25(d)(4) (“[C]ontrol is presumed to exist if one party, directly or indirectly, owns,

controls, or holds the power to vote, or proxies for, not less than 51 percent of the voting rights or

governance rights of another.”).

        There is no relationship of affiliation or control between different Planned Parenthood

Members, as no Planned Parenthood Member owns or manages any other. Members are separately

incorporated, have separate leadership and boards, separate staffs on separate payrolls, and file

their taxes as individual organizations. See Custer Decl. ¶¶ 9, 16. One Member has no ownership

interest in another, nor any say so in how the other Member conducts its day-to-day operations.

Nor is there such a relationship between PPFA and its Members. Guidance and support flow in

both directions between PPFA and its Members, with the Members appointing PPFA’s Board of

Directors and approving changes to PPFA’s bylaws and membership standards, and PPFA in turn

providing technical assistance and support to assist Members in fulfilling their missions. See id.

¶¶ 10, 13, 15. 17

        The Non-Qualifying Members are also not “subsidiaries, successors, or clinics” of other

Planned Parenthood Members. One Member is not “controlled by another by owning more than




17
        PPFA itself is also not a “prohibited entity”—it is not an “essential community provider,”
it does not “provide[] for abortions,” and it did not receive any funds from Medicaid. Nor are the
Members “affiliates” of PPFA, as PPFA does not own or control them, or vice versa.

                                                 32
         MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 44 of 64




50% of voting stock.” See “Subsidiary,” Black’s Law Dictionary (12th ed. 2024). 18 Nor is one

Member an entity that has “succeed[ed] to the rights or the place of another” Member. See

“Successor,” Black’s Law Dictionary (12th ed. 2024). And while individual Members operate

their own clinics, the clinic of one Member has no relationship to any other Member.

       Although the Defund Provision does not apply to the Non-Qualifying Members based on

the plain meaning of the statute, the threat that the Defund Provision will be enforced against these

Members is “sufficiently imminent” to require immediate relief from this court. See Susan B.

Anthony List v. Driehaus, 573 U.S. 149, 159 (2014). This Court should therefore use its power

under the Declaratory Judgment Act to issue an order declaring that the Non-Qualifying Members

are neither “prohibited entit[ies],” nor “affiliates, subsidiaries, successors, [or] clinics” of a

“prohibited entity” under the Defund Provision.

               2.      Without the declaratory relief requested, the Defund Provision is
                       unconstitutionally vague

       If the Court decides it cannot provide declaratory relief finding that the Defund Provision

does not apply to the Non-Qualifying Members on its face, then the statute’s remaining ambiguity

is unconstitutionally vague in violation of the Due Process Clause of the Fifth Amendment. Absent

clarity, the Non-Qualifying Members cannot reasonably determine whether the Defund Provision

applies to them, and it fails to provide them with notice or fair warning of how it may be enforced

against them. The vague definition of “prohibited entit[ies]” puts the Non-Qualifying Members

in the untenable position of choosing either to forgo Medicaid funding or risk an arguable violation

of the statute, thereby chilling otherwise lawful activity. Indeed, Non-Qualifying Member Plaintiff


18
        Non-Qualifying Members are also not subsidiaries of PPFA, but that is not relevant under
the statute. As explained in supra n.17, PPFA is not a “prohibited entity.” As such, even if
Members were subsidiaries of PPFA (they are not), that would not make them subsidiaries of a
“prohibited entity.”

                                                 33
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
         Case 1:25-cv-11913-IT        Document 5        Filed 07/07/25      Page 45 of 64




PPAU has already had to stop submitting Medicaid reimbursement requests for this very reason.

See Ghorbani Decl. ¶¶ 20-21; see Grayned v. City of Rockford, 408 U.S. 104, 108 (1972).

        The Supreme Court has recognized that vague laws may cause “citizens to ‘steer far wider

of the unlawful zone’ … than if the boundaries of the forbidden areas were clearly marked.”

Grayned, 408 U.S. at 109. “A fundamental principle in our legal system is that laws which regulate

persons or entities must give fair notice of conduct that is forbidden or required.” FCC v. Fox

Television Stations, Inc., 567 U.S. 239, 253 (2012). Laws, regulations, or executive actions may

thus be “void for vagueness if [their] prohibitions are not clearly defined.” Grayned, 408 U.S. at

108. Two values animate this doctrine. First, vague laws fail to provide “fair warning” to those

who may be subject to them. Id. And second, vague laws invite “arbitrary and discriminatory

enforcement.” Id. Since vague laws have a chilling effect, concerns are heightened when the

challenged law “abut[s] upon sensitive areas of basic First Amendment Freedoms.” Id. at 109

(alteration in original).

        Here, the Defund Provision contravenes both values that undergird the vagueness doctrine.

By failing to define the full scope of “prohibited entit[ies],” the Defund Provision fails to provide

the Non-Qualifying Members with fair warning whether they will fall under the scope of the law

or as to what they would have to do in order to fall outside of the statute’s coverage. Would a

Member have to somehow distance or disassociate itself from PPFA to no longer be considered a

prohibited entity? Or would Members’ medical directors have to stop meeting to discuss recent

medical studies or evidence-based best practices? These concerns are only further heightened

because they implicate these Members’ First Amendment rights of association. See Grayned, 408

U.S. at 109.




                                                 34
         MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT        Document 5       Filed 07/07/25     Page 46 of 64




       “When a law fails to provide ‘minimal guidelines’ governing its enforcement, it may sweep

in so much conduct that enforcement decisions become based on the ‘personal predilections’ of

the person or entity bringing the enforcement action.” Nat’l Educ. Ass’n v. U.S. Dep’t of Educ.,

2025 WL 1188160, at *18 (D.N.H. Apr. 24, 2025) (quoting Kolender v. Lawson, 461 U.S. 352,

358 (1983)). The Trump Administration’s expressed desire to “defund” Planned Parenthood

underscores the risk of arbitrary or discriminatory enforcement of the Defund Provision where it

lacks defined boundaries expressly clarifying the meaning of “prohibited entity.”

               3.     Without the declaratory relief requested, the Defund Provision violates
                      the Non-Qualifying Members’ First Amendment rights

       Under decades of precedent, the government may not exclude an entity from a government

program or deny a benefit—here, Medicaid reimbursements—because it engages in protected

expressive and associational activity outside of the Medicaid program. See, e.g., Agency for Int’l

Dev. v. All. for Open Soc’y Int’l, 570 U.S. 205, 214-17 (2013) (“AOSI”); Perry, 408 U.S. at 597;

Planned Parenthood of Cent. & N. Ariz. v. Arizona, 718 F.2d 938, 942-43 (9th Cir. 1983) (“PPCNA

I”); Planned Parenthood of Cent. & N. Ariz. v. Arizona, 789 F.2d 1348, 1351 (9th Cir. 1986)

(“PPCNA II”), aff’d mem. sub nom. Babbit v. Planned Parenthood Fed’n, 479 U.S. 925 (1986).

Yet that is exactly what the Defund Provision would do if enforced against the Non-Qualifying

Members.

       The government cannot use its resources to pressure people into abandoning their

constitutional rights—“‘a result which [it] could not command directly.’” Perry, 408 U.S. at 597

(alteration in original). The unconstitutional conditions doctrine acts as the check that prevents

the government from doing that. Id. Under settled law, the government “‘may not deny a benefit

to a person because he exercises a constitutional right’”—regardless of whether he has any




                                               35
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
          Case 1:25-cv-11913-IT         Document 5       Filed 07/07/25      Page 47 of 64




entitlement to that benefit in the first place. Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S.

595, 604 (2013); see AOSI, 570 U.S. at 214; Perry, 408 U.S. at 597.

          Although the government may “impose limits on the use of [its] funds to ensure they are

used in the manner Congress intends,” AOSI, 570 U.S. at 213, the relevant constitutional

distinction “is between conditions that define the limits of government spending programs—those

that specify the activities Congress wants to subsidize—and conditions that seek to leverage

funding to regulate [activity] outside the contours of the program itself.” Id. at 214-15. Supreme

Court precedent illustrates this distinction and also makes clear that the Defund Provision crosses

the constitutional line.

          In Rust v. Sullivan, for example, the Supreme Court upheld a restriction on the use of Title

X funds for abortion and abortion counseling because that restriction governed only “the scope of

the Title X project’s activities,” and left clinics able “to pursue abortion-related activities when

they are not acting under the auspices of the Title X project.” 500 U.S. 173, 196, 198 (1991)

(emphasis added). Rust reaffirmed, however, that it would be unlawful for the government to place

“a condition on the recipient of the subsidy rather than on a particular program or service” because

such a maneuver would “effectively prohibit[] the recipient from engaging in the protected conduct

outside the scope of the federally funded program.” Id. at 197 (emphasis in original). Consistent

with Rust, the Supreme Court in AOSI struck down a government condition because it restricted

constitutionally protected activity by a grantee outside the scope of a government program—

requiring grant recipients to pledge to oppose prostitution and sex trafficking. 570 U.S. at 210-11.

AOSI held the condition unconstitutional because it went beyond how the grant money was used,

and instead compelled “a grant recipient to adopt a particular belief as a condition of funding.” Id.

at 218.



                                                  36
          MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5     Filed 07/07/25     Page 48 of 64




       If it covers the Non-Qualifying Members, the Defund Provision is an unconditional

condition because it denies benefits based on the exercise of the right to associate with PPFA and

other Members in furtherance of their collective expression. See supra pp. 25-29. The only reason

the Non-Qualifying Members would arguably be covered by the Defund Provision is because of

their association with PPFA and other Members. Indeed, because they do not independently

qualify already, it seems the only change these Members could actually make to avoid defunding

would be to stop being members of—i.e., stop their association with—Planned Parenthood. That

is the definition of an unconstitutional condition.

       Moreover, the constitutionally protected activity the government seeks to punish and

suppress here—the association between PPFA and its Members, and their advocacy for abortion

rights and access—clearly occurs “outside the contours of” the Medicaid program. AOSI, 570

U.S. at 215. Therefore, the Defund Provision, if interpreted broadly, “must be doing something

more—and it is.” AOSI, 570 U.S. at 218. The statute would seek to leverage federal Medicaid

funding to coerce Non-Qualifying Members to halt their association with Planned Parenthood “on

[their] own time and dime,” producing a result Congress could not command directly. Id.; see

Perry, 408 U.S. at 597. Under an unbroken line of Supreme Court authority, this effort to leverage

federal funds violates the First Amendment. See PPCNC, 877 F. Supp. 2d at 319-20.

II.    PLAINTIFFS AND THEIR PATIENTS WILL SUFFER IRREPARABLE INJURY ABSENT
       INJUNCTIVE RELIEF, AND THE BALANCE OF EQUITIES AND PUBLIC INTEREST FAVOR
       AN INJUNCTION

       The harmful effects of the Defund Provision on Planned Parenthood Members and their

patients, PPFA, and public health generally can scarcely be overstated. Planned Parenthood

Members will have to turn away the over a million Medicaid-covered patients who rely on them

annually for health care needs. Planned Parenthood provides an extraordinary proportion of the

Nation’s publicly funded reproductive health services, and other providers who accept Medicaid-
                                                 37
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5       Filed 07/07/25      Page 49 of 64




insured patients are already stretched to capacity in many of the areas Planned Parenthood

Members serve. As a result, many patients simply will not be able to obtain timely care elsewhere,

with grave consequences to both individuals and the public health. Planned Parenthood Members

will lose more than one third of their collective total care revenue and, as a result, will be forced

to drastically cut back operations, including curtailing hours and services and eventually closing

clinics. Custer Decl. ¶ 4. This will, in turn, result in millions of patients being unable to receive

the vital health care services they need.

       The government, by contrast, will suffer no cognizable harm from preliminary injunctive

relief, which would simply allow Planned Parenthood Members to continue providing care as they

have done for decades. And PPFA and its Members have no remedy at law; if Members are denied

Medicaid reimbursement while this litigation is pending, they cannot recover damages against the

government later. These circumstances easily establish the conditions for a temporary restraining

order and preliminary injunction.

       A.      Plaintiffs And Their Patients Face Irreparable Injury

       Planned Parenthood Members and their patients, as well as PPFA, will suffer irreparable

injury if the Defund Provision is not enjoined. “[T]the measure of irreparable harm is not a rigid

one; it has been referred to as a sliding scale, working in conjunction with a moving party’s

likelihood of success on the merits.” Vaquería Tres Monjitas, Inc. v. Irizarry, 587 F.3d 464, 485

(1st Cir. 2009). Whatever the standard, Plaintiffs meet it. The irreparable injuries are immediate,

jarring, and grave.

       As a threshold matter, the deprivation of Plaintiffs’ constitutional rights itself constitutes

irreparable injury. See Vaqureía Tres Monjutas, Inc., 587 F.3d at 484 (noting that certain

constitutional violations, such as infringement of free speech, are “more likely to bring about

irreparable harm”). In particular, “[t]he loss of First Amendment freedoms, for even minimal
                                                 38
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT           Document 5      Filed 07/07/25     Page 50 of 64




periods of time, unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976); see also Sindicato Puertorriqueño de Trabajadores v. Fortuño, 699 F.3d 1, 11, 15 (1st Cir.

2012) (where plaintiffs seeking a preliminary injunction “have made a strong showing of

likelihood of success on the merits of their First Amendment claim … “[t]here is no need for an

extensive analysis of [the irreparable harm] element,” as such harm is “presumed”). This alone is

sufficient to justify preliminary injunctive relief.

        On the ground, absent immediate relief, the impacts on Planned Parenthood Members and

their patients will be devastating. Medicaid reimbursements for services provided account for

more than one third of the total revenue that Planned Parenthood Members collectively receive

each year. Custer Decl. ¶ 44. If Planned Parenthood Members are barred from receiving federal

Medicaid reimbursement for their services, Members across the country will be forced to reduce

the hours and vital programs they offer, terminate staff members, and eventually close health

centers. See Custer Decl. ¶¶ 4, 54-57, 78; Lee Decl. ¶¶ 40-42; Ghorbani Decl. ¶¶ 6, 24; Tosh Decl.

¶¶ 45-48; see also Compl. ¶¶ 110, 113, 119, 122, 125. Health centers that close during the

pendency of this litigation may never be able to reopen. See Tosh Decl. ¶ 46. And even if the

Members could resume their services, their close relationship with patients will have been severely

disrupted, making patients less likely to return. See Rio Grande Cmty. Health Ctr., Inc. v. Rullan,

397 F.3d 56, 76-77 (1st Cir. 2005) (finding irreparable harm where health center faced substantial

loss of business resulting from government’s failure to pay Medicaid reimbursements, and “any

shut down of [the center] would adversely affect hundreds of Medicaid patients”).

        Absent prompt injunctive relief, the Defund Provision will inevitably result in vast numbers

of patients not receiving the health care they need. Most immediately, it will jeopardize care for

the over a million Planned Parenthood Member patients who receive health services through



                                                   39
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5       Filed 07/07/25      Page 51 of 64




Medicaid, many of whom will no longer be able to receive services through Planned Parenthood

Members. Brindis Decl. ¶ 35; Custer Decl. ¶¶ 49-50. And changes to health center services and

hours, or eventual health center closures, jeopardize access to healthcare for all of the patients—

Medicaid eligible and non-Medicaid eligible—served at those centers. Custer Decl. ¶¶ 54-55;

supra pp. 16-19. In many cases, patients who receive care at Planned Parenthood Member health

centers have no alternative provider in their communities. Custer Decl. ¶¶ 24-29; Lee Decl. ¶¶ 36-

38; Brindis Decl. ¶ 39; Tosh Decl. ¶¶ 51-52, 54. In many others, alternative providers are an

inadequate substitute for a Planned Parenthood Member provider because they do not provide

comparable services—in particular, they do not provide the same degree of expertise in

reproductive health care and the same emphasis on compassionate and nonjudgmental care. Custer

Decl. ¶¶ 31-37, 53; Lee Decl. ¶ 39; Tosh Decl. ¶¶ 25, 29, 54-57; Brindis Decl. ¶¶ 25, 38. Nor are

they as accessible—often with substantial wait times and more limited hours—which can pose a

serious barrier to care, especially for patients with low incomes. Custer Decl. ¶ 33; Lee Decl. ¶¶

38-39; Brindis Decl. ¶¶ 41, 44, 59; Tosh Decl. ¶¶ 47, 54. And even where other suitable providers

exist, such providers do not have nearly the capacity necessary to fill the vast gap that will be left

by defunded Planned Parenthood Members. Brindis Decl. ¶¶ 35-43.

       These effects will result in patients facing significant delays to receiving care, or losing

access to care altogether, potentially to the serious detriment of their health. Brindis Decl. ¶¶ 11,

35, 57-62. These adverse consequences are likely to include, among others, more unintended and

therefore, riskier pregnancies; id. ¶¶ 62-73; an increase in the number of sexually transmitted

infections; id. ¶¶ 74-81; and cancer and other serious health issues going undetected; id. ¶¶ 84-86.

Notably, during fiscal year 2023, PPFA Members provided more than 426,000 cancer screenings

and other diagnostic procedures, resulting in early detection of cancer or abnormalities. Brindis



                                                 40
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5          Filed 07/07/25   Page 52 of 64




Decl. ¶ 84. Without care, STIs will go undetected or be detected later, leading to higher rates of

STIs and more severe consequences for patients experiencing these diseases, such as pelvic

inflammatory diseases and future infertility. Id. ¶ 62.

       There can be no question that this is irreparable harm. See, e.g., Planned Parenthood of

Kan. v. Andersen, 882 F.3d 1205, 1236 (10th Cir. 2018) (“A disruption or denial of … patients’

health care cannot be undone after a trial on the merits.” (internal quotations omitted)); Harris v.

Bd. of Supervisors, L.A. Cnty., 366 F.3d 754, 766 (9th Cir. 2004) (irreparable harm where

individuals would experience complications and other adverse effects due to delayed medical

treatment); Banks v. Booth, 468 F. Supp. 3d 101, 123 (D.D.C. 2020) (same). The forced

contraction in Planned Parenthood Members’ mission of providing vital health care to the

community likewise unquestionably constitutes irreparable harm to them and to PPFA. See, e.g.,

League of Women Voters of United States v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016) (finding

irreparable harm where “new obstacles unquestionably make it more difficult for the [plaintiffs]

to accomplish their primary mission”).

       In California, for example, nearly 1 million patients rely on Planned Parenthood Member

health centers for care. Planned Parenthood Members’ health centers in California are the

backbone of the Medi-Cal program’s network of sexual and reproductive health care providers and

collectively provide approximately $425 million of services annually to patients that are covered

by Medi-Cal and its related programs. Tosh Decl. ¶ 38. Over 80% of patients served by the

California Planned Parenthood Member health centers are enrolled in Medi-Cal and related

programs, and approximately 77% of the total cost of services provided to this population are

reimbursed using federal funds—a total of $328 million. Id. ¶¶ 37-38. The devastating, irreparable




                                                41
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 53 of 64




injury that these health centers and the patients they serve would experience if the Defund

Provision is allowed to remain in effect cannot be overstated.

       Like the other Members, PPLM and PPAU are already facing harm from the Defund

Provision. Because PPLM currently meets the requirements to be a “prohibited entity” under the

Defund Provision, and that status will not change between now and the “first day of the first quarter

beginning after the date of enactment of this Act,” PPLM has been forced to stop seeking Medicaid

reimbursement upon the Defund Provision’s enactment. Lee Decl. ¶ 35. If the Defund Provision

is not enjoined, PPLM will be forced to cease providing services to its Medicaid patients, many of

whom will likely be unable to find another provider or will face such lengthy wait times that they

will be forced to forgo services. Id. ¶¶ 35-38. PPLM has nearly 150 scheduled appointments for

Medicaid patients across its health centers on July 7 and 8 (today and tomorrow) alone and has

already begun reaching out to patients to inform them they cannot use their Medicaid coverage for

services at PPLM. Id. ¶ 4. Many of these patients cannot afford to self-pay for their care and will

not be able to access timely, high-quality care at another provider that accepts Medicaid. Id. ¶¶

35-39. The Defund Provision will cause PPLM to lose approximately $4.5 million in annual

revenue, which is approximately 39% of its medical services revenue. Id. ¶¶ 29-30. As a result,

PPLM will be forced to rapidly reduce its overall costs by 20 to 25% by curtailing its staff, hours,

and services. Id. ¶ 40. This will deny care not only to its Medicaid patients, but for all of its

patients at those health centers. Id. ¶¶ 41-42. PPLM projects that the Marlborough Health Center

would be vulnerable to closure within about twelve months after losing Medicaid funds. Id. ¶ 41.

       Even though PPAU does not independently qualify as a “prohibited entity” under the

Defund Provision, due to the threat that the government could determine PPAU is a “prohibited

entity” based on its association with other Planned Parenthood Members, PPAU has had no choice



                                                 42
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT        Document 5        Filed 07/07/25     Page 54 of 64




but to stop seeking Medicaid reimbursement upon the Defund Provision’s enactment. Ghorbani

Decl. ¶ 20. Because PPAU’s health centers cannot afford to provide health care services free of

charge, if the Defund Provision is not prevented from going into effect, PPAU will be forced to

turn away patients who rely on Medicaid for health insurance and cannot afford to pay otherwise.

Id. ¶ 21. And many of PPAU’s Medicaid-enrolled patients may be unable to find another provider

of affordable sexual and reproductive health care in their area, much less one that sees Medicaid

patients.   Id. ¶ 22.   In federal fiscal year 2023, PPAU received $706,251 in Medicaid

reimbursements. Id. ¶ 18. Losing this revenue will force PPAU to lay off full-time staff, limit the

health care services it provides, and potentially close health centers as a result. Id. ¶ 24. When

the federal government recently withheld $2.8 million in Title X funds from PPAU—

approximately 20% of its overall revenue—PPAU was forced to lay off 18 full-time staff members

(approximately 20% of PPAU’s staff) and close two health centers (approximately 20% of its

health centers). Id. PPAU will likely have to make similar proportionate cuts to its health centers

and staff if it cannot seek Medicaid reimbursements. Id.

        The First Circuit has expressly recognized that where government action threatens

disruption of Medicaid patients’ access to health care services, preliminary injunctive relief is

warranted. See Rio Grande Cmty. Health Ctr., 397 F.3d at 76-77; see also Dr. José S. Belaval,

Inc. v. Peréz-Perdomo, 465 F.3d 33, 36 n.2 (1st Cir. 2006) (discussing irreparable injury to

community health center resulting from government’s failure to make Medicaid payments).

Courts have routinely and specifically recognized that government action excluding Planned

Parenthood Members from Medicaid leads to irreparable harm. 19 The only difference between



19
       See, e.g., Planned Parenthood S. Atl. v. Baker, 326 F. Supp. 3d 39 (D.S.C. 2018), aff’d,
941 F.3d 687 (4th Cir. 2019); Planned Parenthood Se., Inc. v. Bentley, 141 F. Supp. 3d 1207,


                                                43
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT         Document 5        Filed 07/07/25      Page 55 of 64




those cases and this one is the scale of harm: instead of State action attacking one or two Planned

Parenthood Members, the Defund Provision threatens all of the Members—and threatens to leave

patients across the Nation without the vital and urgent care they need.

       B.      The Balance Of Equities And Public Interest Favor Granting Injunctive Relief

       The third and fourth factors—the balance of relevant hardships and the public interest—

“merge when the [g]overnment is the opposing party.” Does 1-6 v. Mills, 16 F.4th 20, 37 (1st Cir.

2021) (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)). Here, the balance of equities and the

public interest strongly weigh in favor of preliminary injunctive relief.

       As explained, the public health consequences of defunding Planned Parenthood Members

will be dire. The Defund Provision will force Planned Parenthood Members to curtail services

and close health centers, jeopardizing their patients’ care. Supra pp. 16-19. Put simply, the Defund

Provision will substantially decrease access to reproductive health care across the Nation. Brindis

Decl. ¶¶ 57, 60-63, 82. That substantial decrease in access to care will, in turn, lead to a broader

public health crisis. See id. ¶¶ 35, 62; Custer Decl. ¶¶ 65-73. These damaging public health

consequences mean that entry of an immediate injunction is urgently needed.

       By contrast, the federal government will suffer no injury upon the grant of a temporary

restraining order or preliminary injunction. Planned Parenthood Members have provided care

under the Medicaid program for decades. See supra pp. 6-8. The government cannot credibly

claim that it will suffer injury by preserving that status quo. Nor can the government contend that



1225, 1229 (M.D. Ala. 2015); Planned Parenthood Gulf Coast, Inc. v. Kliebert, 141 F. Supp. 3d
604, 650, 530) (M.D. La. 2015), aff’d sub nom. Planned Parenthood of Gulf Coast, Inc. v. Gee,
862 F.3d 445 (5th Cir. 2017); Planned Parenthood of Ind., Inc. v. Comm’r of Ind. State Dep’t of
Health, 794 F. Supp. 2d 892, 912-13 (S.D. Ind. 2011), aff’d in part & rev’d in part on other
grounds, 699 F.3d 962 (7th Cir. 2012). These cases have been abrogated on other grounds by
Medina v. Planned Parenthood S. Atl., --- S. Ct. ---, 2025 WL 1758505 (June 26, 2025).

                                                 44
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5        Filed 07/07/25      Page 56 of 64




the public interest outweighs the harms to PPFA and its Members here. See Mass. Ass’n of Older

Ams. v. Sharp, 700 F.2d 749, 750, 753-54 (1st Cir. 1983) (discussing Medicaid program’s purpose

of providing assistance to the most needy, and holding that “[t]ermination of [Medicaid] benefits

that causes individuals to forgo such necessary medical care … far outweighs” the government’s

mere “loss of public funds” in the form of Medicaid payments). Planned Parenthood Members

provide greatly needed medical care to over 1 million Medicaid patients each year. Ensuring those

patients remain with their provider of choice during this litigation would alone be enough to satisfy

the public interest prong—not to mention those other patients who would lose access to care

altogether as a result of health center closures.

III.   INJUNCTIVE RELIEF AS TO ALL PLANNED PARENTHOOD MEMBERS IS NECESSARY, AND
       NO BOND SHOULD BE REQUIRED

       In light of the irreparable injury that the Defund Provision will inflict on Planned

Parenthood Members—each represented here by PPFA—this Court should enjoin the statute’s

operation as to all Planned Parenthood Members. Under settled law, membership organizations

have standing to seek relief on behalf of their members when “(a) its members would otherwise

have standing to sue in their own right; (b) the interests it seeks to protect are germane to the

organization’s interest, and (c) neither the claim asserted nor the relief requested requires the

participation of members in the lawsuit.” See, e.g., In re Fin. Oversight & Mgmt. Bd. for Puerto

Rico, 110 F.4th 295, 308 (1st Cir. 2024) (citing Hunt v. Washington State Apple Advert. Comm’n,

432 U.S. 333, 343 (1977)). That is easily established here: PPFA’s members have standing to sue

in their own right (and indeed, two join this case), the interests at issue in this case go to the core

of PPFA’s existence, and relief enjoining the application of the Defund Provision to all Members

does not require their participation in this lawsuit.




                                                    45
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5        Filed 07/07/25       Page 57 of 64




       These irreparable harms and the nature of the Defund Provision further warrant the Court

ordering, as part of the preliminary relief sought here, that all Planned Parenthood Members can

continue to seek and retain Medicaid reimbursements for medical services provided for the

duration of the Court’s order. Absent such an order, Planned Parenthood Members cannot obtain

complete relief and will continue to suffer irreparable harm. This is because of the risk that,

following any future adverse ruling, Defendants or others would seek to hold Planned Parenthood

Members liable for valid claims submitted during the pendency of a preliminary injunction.

Although such efforts would themselves be unlawful, the relief requested here is necessary to

dispel the chilling effect those actions would have on Planned Parenthood Members’ continued

participation in Medicaid during this litigation. And because “the purpose of a preliminary

injunction is to preserve the status quo before the merits have been resolved,” Francisco Sánchez

v. Esso Std. Oil Co., 572 F.3d 1, 19 (1st Cir. 2009), this Court has the authority to craft its order to

ensure the status quo is in fact preserved—here, Planned Parenthood Members’ ongoing, decades-

long participation in Medicaid and ability to serve patients insured through Medicaid with full

confidence that they can receive and retain reimbursements for the birth control visits, STI

screening and treatment, cancer screenings, and other care provided under an injunction. 20

       Finally, this Court should also exercise its substantial discretion to waive any injunction

bond under Rule 65(c). See Crowley v. Loc. No. 82, Furniture & Piano Moving, Furniture Store

Drivers, Helpers, Warehousemen, & Packers, 679 F.2d 978, 1000-01 (1st Cir. 1982), rev’d on


20
        See, e.g., Ex parte Young, 209 U.S. 123, 147-48 (1908) (plaintiff must be able to test the
legality of government action in court without fear that an unsuccessful effort would produce
“penalties for disobedience” that are “so enormous … as to intimidate … from resorting to the
courts”); Michael T. Morley, Erroneous Injunctions, 71 EMORY L.J. 1137, 1144 (2022) (“[E]ven
an erroneous injunction that is no longer in effect permanently limits the manner and extent to
which a wrongfully enjoined party may retroactively enforce its rights against the plaintiff for the
plaintiff’s actions while the injunction was in force.”).

                                                  46
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
        Case 1:25-cv-11913-IT          Document 5        Filed 07/07/25      Page 58 of 64




other grounds, 467 U.S. 526 (1984); Int’l Ass’n of Machinists & Aerospace Workers v. Eastern

Airlines, Inc., 925 F.2d 6, 9 (1st Cir. 1991) (identifying “ample authority for the proposition that

the provisions of Rule 65(c) are not mandatory and that a district court retains substantial discretion

to dictate the terms of an injunction bond”). First, the federal government will not incur any

damages from the injunction. See Pineda v. Skinner Servs., Inc., 22 F.4th 47, 57 (1st Cir. 2021).

Because Medicaid reimbursements are for care patients are entitled to receive and have paid for

through the Medicaid program, courts issuing preliminary injunctions in cases involving targeted

defundings of Planned Parenthood Members have waived bond or required only a nominal bond.

See Planned Parenthood of Greater Tex. Fam. Plan. & Preventative Health Servs., Inc. v. Smith,

236 F. Supp. 3d 974, 999-1000 (W.D. Tex. 2017), vacated sub nom. Planned Parenthood of

Greater Tex. Fam. Plan. & Preventative Health Servs., Inc. v. Kauffman, 981 F.3d 347 (5th Cir.

2020) (waiving bond because injunction would not harm state’s budget where it would be required

to pay reimburse other providers for services provided to Medicaid patients); Planned Parenthood

of Kan. v. Mosier, 2016 WL 3597457, at *25 (D. Kan. July 5, 2016) (“The Court finds no evidence

of financial harm to the State if the Court does not require a bond.”), aff’d in part, vacated in part

sub nom. Planned Parenthood of Kan. v. Andersen, 882 F.3d 1205 (10th Cir. 2018); Planned

Parenthood Ariz., Inc. v. Betlach, 899 F. Supp. 2d 868, 887 (D. Ariz. 2012) (requiring only nominal

bond where preliminary injunction would “not cause the Defendants to suffer any monetary

damages”).    Indeed, it would make no sense to require bond in the amount of Medicaid

reimbursements Members will receive when, even if an injunction is later reversed, Members will

be entitled to keep those payments, as Plaintiffs ask this Court to expressly find and order. Second,

this case directly affects the public interest, and “no bond is required in suits to enforce important

federal rights or ‘public interests.’” Crowley, 679 F.2d at 1000. Third, we will be denied effective



                                                  47
        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
           Case 1:25-cv-11913-IT      Document 5       Filed 07/07/25      Page 59 of 64




review if required to post a bond; each has attested that it cannot post a bond to match the federal

funds at stake. Custer Decl. ¶ 82; Lee Decl. ¶ 43; Ghorbani Decl. ¶ 26; see Doe v. Noem, 2025

WL 1099602, at *20 n.33 (D. Mass. Apr. 14, 2025) (considering “the hardship that a bond

requirement would impose on the applicant”). Finally, Planned Parenthood’s likelihood of success

on the merits weighs in favor of no bond. See Crowley, 679 F.2d at 1000 n.25.

                                         CONCLUSION

       Plaintiffs’ motion for a temporary restraining order and preliminary injunction should be

granted.




                                                48
           MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
       Case 1:25-cv-11913-IT     Document 5       Filed 07/07/25     Page 60 of 64




Dated: July 7, 2025                              Respectfully submitted,

                                                /s/ Sharon K. Hogue
Emily Nestler*                                  Sharon K. Hogue, BBO# 705510
PLANNED PARENTHOOD                              WILMER CUTLER PICKERING
 FEDERATION OF AMERICA, INC.                     HALE AND DORR LLP
1110 Vermont Avenue, NW                         60 State Street
Washington, D.C. 20005                          Boston, MA 02109
Tel.: (202) 973-4800                            Tel.: (617) 526-6000
emily.nestler@ppfa.org                          Fax: (617) 526-5000
                                                sharon.hogue@wilmerhale.com


Jennifer Sandman*                               Alan E. Schoenfeld*
C. Peyton Humphreville*                         Cassandra A. Mitchell*
Kyla Eastling*                                  Alex W. Miller*
PLANNED PARENTHOOD                              WILMER CUTLER PICKERING
 FEDERATION OF AMERICA, INC.                     HALE AND DORR LLP
123 William Street                              7 World Trade Center
New York, NY 10038                              250 Greenwich Street
Tel.: (212) 441-4363                            New York, NY 10007
jennifer.sandman@ppfa.org                       Tel.: (212) 230-8800
peyton.humphreville@ppfa.org                    Fax: (212) 230-8888
kyla.eastling@ppfa.org                          alan.schoenfeld@wilmerhale.com
                                                cassie.mitchell@wilmerhale.com
                                                alex.miller@wilmerhale.com

                                                Albinas J. Prizgintas*
                                                WILMER CUTLER PICKERING
                                                 HALE AND DORR LLP
                                                2100 Pennsylvania Avenue NW
                                                Washington, DC 20037
                                                Tel.: (202) 663-6000
                                                Fax: (202) 663-6363
                                                albinas.prizgintas@wilmerhale.com


                       *Application for pro hac vice forthcoming

                                 Counsel for Plaintiffs




                                           49
       MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TRO & PI
Case 1:25-cv-11913-IT   Document 5    Filed 07/07/25   Page 61 of 64




                     ADDENDUM




                           ADDENDUM TO
MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR A TRO & PI
        Case 1:25-cv-11913-IT          Document 5        Filed 07/07/25       Page 62 of 64




SEC. 71113. FEDERAL PAYMENTS TO PROHIBITED ENTITIES.

        (a) IN GENERAL.—No Federal funds that are considered direct spending and provided to
carry out a State plan under title XIX of the Social Security Act or a waiver of such a plan shall be
used to make payments to a prohibited entity for items and services furnished during the 1-year
period beginning on the date of the enactment of this Act, including any payments made directly
to the prohibited entity or under a contract or other arrangement between a State and a covered
organization.

       (b) DEFINITIONS.—In this section:

                (1) PROHIBITED ENTITY.—The term “prohibited entity” means an entity, including
       its affiliates, subsidiaries, successors, and clinics—

                     (A) that, as of the first day of the first quarter beginning after the date of
               enactment of this Act—

                                       (i) is an organization described in section 501(c)(3) of the
                               Internal Revenue Code of 1986 and exempt from tax under section
                               501(a) of such Code;

                                       (ii) is an essential community provider described in section
                               156.235 of title 45, Code of Federal Regulations (as in effect on the
                               date of enactment of this Act), that is primarily engaged in family
                               planning services, reproductive health, and related medical care; and

                                       (iii) provides for abortions, other than an abortion—

                                               (I) if the pregnancy is the result of an act of rape or
                                       incest; or

                                               (II) in the case where a woman suffers from a
                                       physical disorder, physical injury, or physical illness,
                                       including a life-endangering physical condition caused by or
                                       arising from the pregnancy itself, that would, as certified by
                                       a physician, place the woman in danger of death unless an
                                       abortion is performed; and

                       (B) for which the total amount of Federal and State expenditures under the
               Medicaid program under title XIX of the Social Security Act for medical assistance
               furnished in fiscal year 2023 made directly, or by a covered organization, to the
               entity or to any affiliates, subsidiaries, successors, or clinics of the entity, or made
               to the entity or to any affiliates, subsidiaries, successors, or clinics of the entity as
               part of a nationwide health care provider network, exceeded $800,000.




                                        1
                                  ADDENDUM TO
       MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR A TRO & PI
Case 1:25-cv-11913-IT        Document 5       Filed 07/07/25     Page 63 of 64




       (2) DIRECT SPENDING.— The term ‘‘direct spending’’ has the meaning given that
term under section 250(c) of the Balanced Budget and Emergency Deficit Control Act of
1985 (2 U.S.C. 900(c)).

       (3) COVERED ORGANIZATION.—The term ‘‘covered organization’’ means a
managed care entity (as defined in section 1932(a)(1)(B) of the Social Security Act (42
U.S.C. 1396u–2(a)(1)(B))) or a prepaid inpatient health plan or prepaid ambulatory health
plan (as such terms are defined in section 1903(m)(9)(D) of such Act (42 U.S.C.
1396b(m)(9)(D))).

       (4) STATE.—The term “State” has the meaning given such term in section 1101 of
the Social Security Act (42 U.S.C. 1301).




                                 2
                           ADDENDUM TO
MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR A TRO & PI
        Case 1:25-cv-11913-IT          Document 5        Filed 07/07/25      Page 64 of 64




                                 CERTIFICATE OF SERVICE

       Counsel for Plaintiffs certify that they have submitted the foregoing document with the

clerk of court for the District of Massachusetts, using the electronic case filing system of the Court.

Counsel for Plaintiffs hereby certify that they have served all parties electronically or by another

manner authorized by Fed. R. Civ. P. 5(b)(2).

Dated: July 7, 2025

                                               /s/ Sharon K. Hogue
                                               Sharon K. Hogue, BBO #705510
